Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 1 of 79 Page ID #:1


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                                                  CALIFORNIA



                                                                    CASE NO: 8 23-cv-00867-FWS(KESx)

         Division:
                                                                           FILED - SOUI~HCR~J DI'✓iS!ON
                                                                           CLERK, U.S. DISTRICT COURT

         DANIL CHVANOV,
         Petitioner.                                                            ICY 18X23
                                                                         CENTRAL DIST CT OF CALIFORNIA
                 V.                                                      BY         ~ 1        DEPUTY


         IANA CHVANOVA,

         Respondent.



                                 EMERGENCY PETITION
               PETITIONER CHVANOV'S VERIFIED PETITION FOR SECURING THE
              RETURN OF THE CHILD TO HIS COUNTRY OF HABITUAL RESIDENCE
                MEXICO.PURSUANT TO TAE HAGUE CONVENTION ON THE CIVIL
                     ASPECTS OF INTERNATIONAL CHILD ABDUCTION.


                 Petitioner DANIL CHVANOV ("Father", citizen of RF)files this Verified Petition for

         securing the return of five-year-old Ignat Daniilovich Chvanov (Residence permit in Mexico)

         to his country of habitual residence, Mexico, pursuant to the Hague Convention on the Civil

         Aspects ofInternational Child Abduction against Respondent IANA CHVANOVA ("Mother",

         citizen of RF). In support, Father states as follows:


         1.              Action. This is an action to secure the return of five-year-old Ignat Daniilovich
    Chvanov to his country of habitual residence, Mexico.
         2.            Minor Child. The parties have one(1) minor child, to wit: IGNAT CHVANOV,
    a male, born 2018/01/01 in Lipetsk, Russia("Minor Child").
         3.            Residences. Mother and the Minor Child are residents of CA 92692 Siruela
    Mission Viejo, 27822
        Father resides at the following address: Mexico, Quintana Roo, Cancun,SM 04 M 13 L 7- 9

        Por Av Tulum, Viento 34, 77500 Cancixn, Q.R
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 2 of 79 Page ID #:2


       I.C.'s Residence for the past 5 years:
       1. Dates(From- To): FROM 2018/01/01 TO February 2022
               Address: Tsiolkovskogo street, house 17, apt. 126, Lipetsk city, the Russian Federation
               Name of a person the Child lives with: IANA CHVANOVA and DANIL CHVANOV
               Relationship to the Child: MOTHER and FATHER.
       2. Dates(From-To): FROM February 2022 TO 2022/05/20
       Actress: Av. Tikal 1, 77507 Cancixn, Q.R. Mexico
        Name of a person the Child lives with: IANA CHVANOVA and DANIL CHVANOV
               Relationship to the Child: MOTHER and FATHER.
       3.      Dates(From- To): FROM 2022/05/20 TO PRESENT
       Address: CA 92692 Siruela Mission Viejo, 27822
               Name of a person the Child lives with: IANA CHVANOVA
               Relationship to the Child: MOTHER.

       4.     Background

       On May 20,2022, his mother illegally transferred the child from Mexico to USA.

       I went to the child abduction office to fill out The Hague Convention Return Application

       On Mazch 8,2023, Deputy Attorney General Bridget Billeter Statewide Child Abduction
       Coordinator and c/o Deputy Attorney General Elizabeth Hereford send an application for the
       return of Chvanov (California Attorney General's Office, 455 Golden Gate Ave, Suite 11000,
       San Francisco, CA 94102),Ignat Daniilovich pursuant to the Hague Convention on the Civil
       Aspects of International Child Abduction. It was found out that the child and respondent parent
       were believed to be residing in California.

       On March 24, 2023, Deputy District Attorney Tammy Jacobs(Child Abduction Unit Orange
       County District Attorney's Office 401 Civic Center Dr. West Santa Ana, CA 92701)sent a
       request for assistance in securing the return offive-year-old Ignat Daniilovich Chvanov to his
       country of habitual residence, Mexico, pursuant to the Hague Convention on the Civil Aspects of
       International Child Abduction.

       5. Participation in uroceedings:

       On May 8, 2023, the ORAL CNIL AND FAMILY COURT OF FIRST INSTANCE IN THE
       JUDICIAL DISTRICT OF SOLIDARIDAD, QUINTANA ROO, MEXICO accepted the
       statement of claim from the Father to determine the place ofresidence ofthe child.
       I HAVE participated as a party, plaintiff, or in any capacity in any other litigation or custody
       proceeding in this or another state, jurisdiction, or country, concerning the determination of the
       place of child's residence.
       a. Name of each child: Ignat Chvanov.
       b. Type of proceeding: custody and place of permanent residence
       c. Court and state: ORAL CIVIL AND FAMILY COURT OF FIRST INSTANCE IN THE
       JUDICIAL DISTRICT OF SOLIDARIDAD,QUINTANA ROO
       d. Date of court order or judgment: 2023/05/08

       Desicion: The Court estimates appropriate to determine that things shall be kept as they are,
       related to the minor child, whose name is IGNAT DANIILLOVICH CHVANOV,this Court
       under careful arbitration decides under the care and protection of his father, Mr. DA1vIIL
       VIKTOROVICH CHVANOV,provided that this does not imply any provisional or final
       granting of custody, but its sole purpose is for the Court to have knowledge of the place, where
       the the minor lives, whilst this court gathers the necessary elements to decide on this matters.
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       6.    Jurisdiction. This Court has jurisdiction pursuant to the current Uniform Child Custody
       Jurisdiction and Enforcement Act(UCCJEA), which is codified at FamilyCode §§ 3400-3465.

        7.   Emereencv Petition: Pursuant to the Convention of25 October 1980 on the Civil Aspects
                                   ofInternational Child Abduction.

       a.     In accordance with art.12 (the Convention of25 October 1980 on the Civil Aspects of
       International Child Abduction)Less than one year has passed since the date ofillegal transfer.
       b.     In accordance with art. 3(the Convention of25 October 1980 on the Civil Aspects of
       International Child Abduction). Father did not give permission to move the child to the US.
       c.     The child's transfer was undertaken on the invalid national all-purpose passport for
       abroad traveling of RF.

       Father requests that this Petition be treated as an emergency petition and requests an expedited
       proceeding.

       WHEREFORE,Petitioner Danil Chvanov requests this Court:

       Transfer the child to a counsel for petitioner on the base of the power of attorney, Artur
       Kuznetsov, who represents my legitimate interests, so that he will secure the return offive-yeaz-
       old Ignat Daniilovich Chvanov to his country of habitual residence, Mexico.

       From 2022/05/16 to 2023/05/16 Artur Kuznetsov, represented in courts in the United States by
       proxy the interests ofparents whose children were illegally abducted and thefollowing courts
       issued ordersfor the transfer ofchildren to Artur Kuznetsov and the return ofchildren to their
       usualplace ofresidence.

       Return Order 2023/04/04 File 319301, M-02370-23 Family Court ofthe State ofNew York,
       judge Hon.Hasa A. Kingo,

       Return Order 2022/12/21 Case No FMCE22015171 in The Circuit Court ofthe 17thjudicial
       circuit in andfor Broward County, Floridajudge Weekes, Mariya

       Return Order 2022/05/16 Case No FMCE22001955 in The Circuit Court ofthe 17thjudicial
       circuit in andfor Broward County, Floridajudge Davis Michael

       All orders were executed infull; information about the execution was transmitted to the courts


                                               VERIFICATION

       I understand that I am swearing or arming under oath to the accuracy of this petition
       and that the information provided for herein is true and accurate. I further understand
       that the punishment for knowingly making a false statement or incomplete disclosure
       includes fines andlor imprisonment.




                                               Date: 2023/5/l7



       Petitioner Danil Chvanov
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 4 of 79 Page ID #:4


       Counsel for Petitioner Ariur Kuznetsov

       Power of Attorney, Artur Kuznetsov,
       Passport 76 1503831, date of issue 04.09.2019
       Phone: +7 995 003-91-91,+1 (949)-524-9764
       Web site: www.arturkuznetcov.team,
       www.arturkuznetcov.com
       Email: info@arturkuznetcov.team
       Address: 614 N Linwood Ave, Santa Ana,CA 92701, USA




                                           EXHIBIT
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                                                          POWER OF ATTORNEY                  ~


                                                             April 11, 2023
                I,cit: Ch~anov Qaniit Vikforovich, boon vn July
                                                                08, 1990; place of birth: Lipetsk city., citizenship:Russi
             Federation, gender. male, passport of a citizen                                                               an
                                                                 of the. Russian Federation 68 3144027, issued
             Department of the Minesfry of interior of Russia                                                          by the
                                                                on march 31, 2022, subdivision code 0043, regist
             the place of residence at the address~.l:ipetsk                                                          ered at
                                                              territory, Lipetsk city, Tsiofkovskogo sheet, house
             72f, authorize by Phis power of attorney,                                                               17, apt'.

                  cit: Kuznetsov Amur Rudolfovieh, .born orr Augus
                                                                        t 02, 1986, place of birth: Pribrezhny village of
             Slavyansky District of the Krasnodar Territory;                                                                    the
                                                                 citizenship: Russian Federation, gender. male;
             a citizen of the. Russian Federation 76 15x38                                                            passpotk of
                                                                31 issued by the Department of the Minestry of interio
             Russia o~ September 04,2019,subdivision code                                                                       r of
                                                                   29005, registered at the place of residence at#headd
             Krasnodar Territory, Anapa city, Pfomyshlen                                                                     ress:
                                                              naya street, house 9, building 1, apt. 712,
                 represent my interests in 1nStitutlonS aid organi
                                                                    zations of the llnited States of America and irtteme
             organizations an the issue ofsearching fotand                                                                  tional
                                                                 returning tofhe Mexico my child Chvanov Igna~t Daniilo
             born on January 1, 2013. taken out ofthe                                                                         vich,
                                                            Mexico without my consent, including in accordance with
             provisions of the Convention on the Civil                                                                         the
                                                         Lew Aspects of Intetn~tional Child' Abduction, represent interes
            1n law enforcement agencies, with private                                                                            ts
                                                           detectives, in specially authorized bodies (Central Authori
            the issue of ensuring the immediate                                                                            ty), on
                                                   return of my minor children t4 M~rico, with the right to take
            measures to ensure the prompt return of childr                                                           appropriate
                                                               en,on mah~I~s related to locating children, preventing
            harm to children, taking or securing interi                                                                    further
                                                         m measures,voluntary return of children, on the issue
            the peaceful settlement of disputes, with                                                              of promoting
                                                        the right to initiate jutliCiaPor adminisVative procedures
            achieve the return of children, with the                                                                  in order to
                                                         righk to Carry oat various a~~tiv~ties io organize and ensure
            effective implementation of the return of childr                                                                   Che
                                                              en; pertgrm other actions relate¢ to fulfillment of these
                                                                                                                          orders.
              Prosecute cases on this issuein alPcourts
                                                              of the judicial system 6f the UniCed States of America
           of other counUies with the performance                                                                          courts
                                                          of ap procedural actions, submit cpn,sent on my behalf
            processing of my perso~ai data, m the                                                                          to the
                                                     form and mannerp~escribed by the current legislation of
           sign forme, perform all other actions and fprmali                                                        the Mexico,
                                                                 ties related to the execution of this assignment.
                The power of attorney is issued fora period
                                                                 of'three years, with a ban on tfie transfer of powers under
           this power of attorney to other -persons.




                                                                    __./

                                                      Chvanov Daniil Vikto~oviCh
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               LUIS RIGARDO DUARTE
                                     GUERRA, titular de l~
               veinticuatro de                              notarla numero
                                la Ciudad de Mexico,
               mi comparec.ib eI                      CERTIFICO: Que ante
                                 senor DANIIL CHVI~NOV de
               me asegure y puso                            cuya identidad
                                   ante m la firma que
               documento, el                              aparece en este
                               coal va selZado y
              zatfi.canda en este                     rubricado por mi,
                                    acto su contenzdo, _____,______
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              trenta y dos mil                               con el niun~r~
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                                     mil veintitres, ante mi. -
              DO                                                -----------
              Ciudad de Mexico, a ones
                                         de abril ae~aos mil
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                                    LUIS RICA                       DUARTE BUERRA                                  •- rss
                                   TITULAR DE                       NOTARIA No, 24
                                      bE I.P, C                     D DE MEXICO                   -    -




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                      En Mexico e1 preser,te documento publlco ha sido firmado por LUIS
                                                                                           24 DE
                      D Uf1RTE GUERRA quien actua en calidad de TITULAR DE LA NOTARIA
                      lA CIUDAD DE MEXICO y est~ revestido del seAo correspondiente a LIC. LUIS
                                                                                         MEXICO
                      RICARDO DUARTE GUERRA, NOTARtA No. 24, CIUDAD DE
                                                                                         CIUDAD
                      ES7ADOS UNIOOS h7EXICANOS ESCUDO NACIONAL Certificado en
                                                                                         UNIDAD
                      D E MEXICO por UC. JOEL CHAVEZ MARTINEZ JEFE DE
                      DEPARTAMENTAL DE CONSULTAS JURIQICAS QE LA DIRECC16N GENERAL
                                                                                               Y
                    =~:lURIDIC.A Y DE ESTUDIOS LEGISIP.TIVOS DE LA CONSEJERIA JUR~DICA
                     QE SERVICIOS LEGALES.
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                               En M2xico el presente documento pu~bfico ha sido firmado por LUIS RICAR~O                                                 ~ ,
                               DUARTE GUERRA quien actua en ca~idad de TITULAR DE LA NOTARIA 2d OE
                               LA CIUDAD DE MEXICO y est~ revestido del Bello correspondiente a LIC. LVIS
                               R ICARDO DUARTE GUERR,4, NOTARIA No. 2a, CIUDAD DE MEXICO
                               ESTAOOS UNIOOS MEXICANOS ESCUDO NACIONAL Certificado en CIUDA~
                               D E MEXICO por LIC. JOEL CHAVEZ A4ARTINE2 JEFE DE UNIDAD
                        `'i    DEPARTAMENTAL DE CONSULTAS JURIDICAS OE LA DIRECCI~IN GENERAL
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                                   CIUDAD ~~E MEXICO el 12 de abril de 2023                                              ,,.,~                       E
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ROB BONTA
                                                                    State ofCalifornia
Attorney General                                             DEPARTMENT OF JUSTICE                   ~ ~~~
                                                                            600 WE5T BROADWAY,SU1TE 1800
                                                                                       SAN DIEGO, CA 92101
                                                                                            P.O. BOX 85266
                                                                                   SAN DIEGO,CA 92186-5266

                                                                                       Public: (619)738-9000
                                                                                    Telephone: (619)738-9235
                                                                                    Facsimile: (619)645-2012
                                                                          E-Mail: Ksenia.Gracheva@doj.ca.gov

                                           March 24,2023

      Deputy District Attorney Tammy Jacobs
      Child Abduction Unit
      Orange County District Attorney's Office
      401 Civic Center Dr. West
      Santa Ana, CA 92701

      Re:           Hague Case No. AGI-23-12-CHVANOV-MEXICO-ORANGE COUNTY
      Matter ID#: SD2023400531
      Father:       Daniil Viktorovich Chvanov (applicant)
      Mother:       Iana Igorevna Chvanova(respondent)
      Child:        Ignat Daniilovich Chvanov(DOB: 01101/2018)
      Date of Abduction: May 20,2022

      Dear Ms. Jacobs:

            Enclosed please find a request for assistance in securing the return of five-year-old
     Ignat Daniilovich Chvanov to his country of habitual residence, Mexico, pursuant to the
     Hague Convention on the Civil Aspects ofInternational Child Abduction. The child and
     mother are believed to be residing at the following location in your jurisdiction:

                                              27822 Siruela
                                         Mission Viejo, CA 92692

            It appears from the application and supporting documents that the parents were
     married on July 14, 2016, in Lipetsk, Russia. Their son, Ignat, was born on January 1,
     2018, in Lipetsk. The parents remain married and there do not appear to be any custody
     ordersinplace.

           According to the father, the family relocated from Russia to Mexico in February
     2022 to expand his business. The father remained in Russia for work purposes, but rented
     accommodations in both Cancun and Playa del Carmen for the mother and child. In May
     2022,the mother stopped answering phone calls and would only communicate via text
     message. The father decided to travel to Mexico to spend time with his family. When he
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   Tammy Jacobs, Deputy District Attorney
   March 13, 2023
   Page 2


   arrived, however, the mother and child were missing. He was unable to find them
                                                                                   in
   Cancun or Playa del Carmen, and the neighbors had not seen them.

           The father claims that after a few days of searching, he started receiving text
   messages with pictures ofIgnat from an unknown California phone number. He
                                                                                       believed
   that his family had been kidnapped and turned to the police in Quintana Roo for
                                                                                       help.
   However, he later received a message from the mother informing him that she had
                                                                                         found
   a new husband and father for Ignat, and not to call or look for them. That was when
                                                                                           he
   realized that the mother had taken the child to the United States without his knowle
                                                                                          dge or
   consent.

         The following documents are being transmitted to you electronically:

          1.   State Department cover letter;
         2.    Hague application;
         3.    Birth certificate;
         4.    Photographs ofthe child and mother;
         5.    Marriage certificate;
         6.    Civil code;
         7.    Voluntary return letter acknowledgement;
         8.    Authorization to release case information;
         9.    Copy of father's application for legal assistance.

          I appreciate your assistance in helping to resolve this case. I will forward any
  additional documents or information as soon as they are received. Please email me at
  Ksenia.Gracheva@doj.ca.gov if you need any additional documents (including the
  original documents now being transmitted electronically) or have any questions regardi
                                                                                           ng
  this case. Please keep me informed as to its status.

                                              Sincerely,

                                              xaeaia. D. Cfnaciceua

                                              KSEIVIA D. GR.ACHEVA
                                              Deputy Attorney General

                                       For    ROB BONTA
                                              Attorney General
 AGI-23-12
 SD2023400531
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 10 of 79 Page ID #:10




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                                                                  Linited States Department of State
        . ~
        :~N4 t.                                                   Washi+igtun, D.C. ~Q~20
                                                                     March 8,2023


         Deputy Attorney General Bridget Billeter
         Statewide Child Abduction Coordinator
         c/o Deputy Attorney General Elizabeth Hereford
         California Attorney General's Office
         455 Golden Gate Ave, Suite 11000
         San Francisco, CA 94102

         Sent via email: Brideet.E3illeter}a~cloj_ca, ~c~~;, Tan.ngu~nnci,doj.ea.gov

         Re: New Hague Convention Return Application — Chvanov,Ignat Daniilovich

         Dear Ms. Billeter:

        Enclosed please find an application for the return of Chvanov, Ignat Daniilovich pursuant
        to the Hague Convention on the Civil Aspects ofInternational Child Abduction.
        According to the application, around May,2022,the child was taken from Mexico. The
        child and respondent parent are believed to be residing in California.

        The following is information that may be helpful in this matter:

        Respondent Parent: Chvanova, Iana Igorevna

        DPOB: September 3, 1991; Russia

        Child: Chvanov,Ignat Daniilovich

        DPOB: January 1, 2018; Russia

        Date of wrongful removaUretention: May,2022

        Probable address of the respondent parent: 27822 Siruela Mission Viejo, CA 92692

        Please see attached photos for location information.

        Included with the Hague application are:

                1. Birth Certificate;
                2. Photos

       Please note that the applicant parent has not authorized the Office of Children's Issues,
                                                                                                 as
       the U.S. Central Authority under the Hague Convention on the Civil Aspects of
       International Child Abduction,to send a Voluntary Return Letter to alleged taking parent.
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         If you have any further questions or concerns, please feel free to
                                                                            email me at
         WoodleyA@state.gov

         Thank you and best regards.


         Sincerely,

        .rQ~.~csr~ Gl~ee~~~

        Country Officer
        Office of Children's Issues

        Enclosures as stated
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 12 of 79 Page ID #:12




                                                                                    ~EFATURA DE UNIDAp PARAAM~RICA pE~ NORTE
  R~LACIC~NES E~T~RIORES                                       ;`_,~~'1~            DIRECCION GENERAL DE PROTECCION CONSULAR
                                                                    `~+"'~- M~i~~                    Y PLANEACIdN ESTGrATEGICA
                                                               ~ ~' µ .~ ~ W.~v           COORDINAC16N DE DERECHO DE FAMILIA




                                                                                                                      P3gina ~ 1
        Para Ilenado exclusivo de la Oficina de Pasanortes de la SRE:


                              General Direction of Consular Protection
                              and Strategic Planning of the Ministry)
                          I   of Foreign Affairs
                                                                                     U.S. Department of State
                                                                                    (O~ce of Children's Issues)   I
                                Oficina de pasaportes                                  Pais requerido




                                                        [Marque s610 una opcion]


              Derechos de Visita                       ❑                   Restitucibn Internacional
              Access Rights                                                International Return




              Numero de menores
              Number of children                           ~




        CHVANOV                                                                       (GNAT DANIILOVICH               5
       Apellido paterno/Last name Apellido matemo/Maternal last name Nombre(s
                                                                              )/First and middle name EdadlAge



       Apellido paterno/Last name Apellido materno/Maternal last name Nombre(s
                                                                               )/First and middle name Edad/age



      Apellido paterno/Last name Apellido materno/Maternal last name Nombre(s
                                                                              )/First and middle name Edad/Age



      Apellido paternolLast name Apellido materno/Maternal last name Nombre(s
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      Apellido paternolLast name Apellido maternolMaternal Iast name Nombre(s
                                                                              ~/First and middle name Edad/age
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 13 of 79 Page ID #:13




                                                                 SECRETARIA DE RELACIONES EXTERIORES
                                                                     SOLICITUD DE ASISTENCIA CON BASE EN LA
                                                                        CONVENCION DE LA HAYA SOBRE LOS
                                      T~r~tr~a                         ASPECTOS CIVILES DE LA SUSTRACCION
               ~ ~ ,'~'t'~Z~Ft~res                                              INTERNACIONAL DE MENORES
       ~i~               _. ,a ..~,. _~v~W ,~.
                                                                                                                                                       P~gina ~ 2"
                                                    EI Ilenado de la presente solicitud es exclusivo del solicitante, favor de Ilenar
                                                    los espacios con tetra de molde o a computadora. /Only the applicant
                                                   should fill out this form. Please type or handwrite the requested information.

               NGmero de menores           ❑                   Derechos de Visita        ❑                   Restitucidn International
               Number of minors            ~                   Access Rights                                International Return


               N OMBRE DEL MENOR/NAME OF THE CHILD

                  CHVANOV                              I                                                I       (GNAT DANIILOVICH I
                Apellido paterno/Last name                 Apellido materno/Maternal last name                  Nombre~s)/First and middle name

                                                                             RUSIA                                     RUSA
           I     01 /        JA[*ItJARY        /20'1`6 I         city of Lipetsk, Lipetsk region, Russia I            RUSSIAN                      I
           Fecha de nacimiento/Date of birth                   Lugar de nacimiento/Place of birth                   Nacionalidad/Citizenship

           I     ~J~ /      JANUARY            /      2028             I
           Cumplir~ 16 aRos ei/Who will be the age of 16 years on Sexo/Gender
                                                                                MALES               I                    5
                                                                                                                        Edad /Age
            national all-purpose passport for abroad travelling of RF Gtizen
                                                                                                                                               ,
                 65 6827718               I A2 / A~JGUST                   /X01°8 ~                             MEXICO
           Numero de pasaporte             Y       Fecha de Caducidad                  Residencia habitual ANTES DE LA SUSTRACCION/
           Passport number                and          Expiration date                  Habitual residence BEFORE THE ABDUCTION

           I NFORMA~IbN FISICA/PHYSICAL INFORMATION


       I                I                                  I                                    I                                              I
        Estatura/Height   Peso /Weight                         Color de Cabello/Hair color                      Color de ojos/Eye color
       I                                                               photo attached FOTO ANEXA                                               I
                                                      Sen'as particulares/Distinctive marks

           POSIBLE UBICAG6N/CURRENTOR POSSIBLE LOCATION


       I        SIRUELA                                           ~27822~
                    Calle/Street                                 Num/Num Int/Appt                                   Colonic

                MISSION VIEJO
                     Ciudad/City                    Municipio/County                      Comunidad o poblado/Community or town

                CALIFORNIA                                                  ~             USA                          ~ 92692-2732
                    Estado o Provincia/State or Province                              Pais/Country                            C.P./ZIP Code
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            RELACIdNCONELMENOR/RELATIONSMIPWITHTHECHILD/REN
                                                                                                                                  --
                                                                                                                               Pagina ~ 3
            Padre            Madre    Ambos/  Instituci3n/    Otro:
            Father~          Mother ❑ Both  ❑ Institution ❑Other/


            dEjercia el solicitante la patria potestad y/o custodia del menor~
            Was the applicant exercising parental and/or custodial rightst
                                                                                             Si/Yes          No/No

                   CHVANOV                  I                                             I DANIIL VIKTOROVICH
           A pellido paterno/Last name    Apellido materno/Maternal Last name Nombre~s)/First and Middle
                                                                                                              name
                                                            RUSIA                                RUSA
           I ~~, ~        ~~~E        ~ ~990 I city of Lipetsk, Lipetsk region, Ru~sia
                                                                                                RUSSIAN            I
            Fecha de nacimiento/Date of birth Lugar de nacimiento/Place of birth
                                                                                       Nacionalidad/Citizenship
                                                              HOMBRE
                                                                     MALE             ~                 32
                Otra nacionalidad/Other nationality                 Sexo/Gender                       Edad /Age

           DIRECCIbN/ADDRESS


                            Av Tulum, Viento ~ 34 ~         (SM 04 M 13 L 7- 9
                    Calle/Street           Num/Num Int/Appt             Colonic

       I           CANCUN
                       Ciudad/City              Municipio/Municipality            Comunidad o poblado/County or town
       I           QUINTANA ROO                                 ~          MEXICO                     ~ 77500
                   Estado o provincia/State or Province                     Pais/Country                   C.P./ZIP Code

       DATOS DE'CONTACTO/ CONTACT WFORMATION


            t     )                               ~ c       1                              ~ (+52)998 425 7196
           Tel~fono de casa/Home number             Tel~fono de oficina/Office number                 Celular/Mobile
       I        chemgroup48@gmail.com I                                    +79205216955                                    I
                Correo electr6nico/E-mail                                          Otros/Other

       I NSTITUC16PJ/INSTITUTION jllenar solo si el solicitante es una institutio
                                                                                  n)/(fill only if
       the applicant is an institution).



                                                                       I                                                   I
                Nombre de la Institution/Institution's Name                   Representante /Representative
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 15 of 79 Page ID #:15




            RELACItSN CON EL'MENOR/RELATIONSHIP WITH CHILD/REN
                                                                                                                                        P~gina ~ 4

            Padre               Madre   Ambos                           Otro:
            Father ❑            Mother~ Both  ❑                         Other:


                  CHVANOVA                   I                                              ~       IANA IGOREVNA
           Apellido paterno/Last name       Apellido materno/Maternal last name Nombre(s)/First and
                                                                                                           middle name
                                                              RUSIA                                 RUSA
                0~! SEP,T~MBER !~fi~9'1 I Gty of Lipetsk, Lipetsk region, Russia I              RUSSIAN
             Fecha de nacimiento/Date of birth Lugar de nacimiento/Place of
                                                                             birth       Nacionalidad/Citizenship
                                                              M UJER
           I                                            I FEMALE                I                    31                         I
                 Otra nacionalidad/Other Nationality         Sexo/Gender                      Edad /Age
               national all-purpose p ssport for abroad tr yelling of RF citizen
                                                                                   pasap national de use multiple paro viajes e       extrenjero de
                                           75 3656970 ~ ov / ~;os~                 ~ YZf1r'I F~~udad~noa de RF    ME~(ICQ,
                      Alias             Numero de pasaporte Y Fecha de Caducidad                        Residencia habitual
                Also known as           Passport number    and    Expiration date                      Habitual residence

           INFORMAC16N FISICA/PHYSICAL INFORMATION


          I                (                      ~                                    I
           Estatura/Height                                                                                                        I
                             Peso /Weight             Color de Cabello/Hair color                Color de Ojos/Eye color
       I                                                     photo attached          FOTOGRAFIAANEXA                              I
                                                 Senas particulares/Distinctive marks

           POSIBLE UBICAGI~N/PROBABLE LOCATION


       I        SIRUELA                                    ~27g22~
                    Calle/Street                           Num/num Int/Appt                             Colonic

                MISSION VIEJO
                     Ciudad/City                 Municipio/County                  Comunidad o poblado/Community or town

                CALIFORNIA                                          ~     USA                             I 92692-2732
                   Estado o provincia/State or Province                          Pais/Country                     C.P./ZIP Code

            t        ►                                ~c        )                                ~c     +1 X949 9936853
       Telefono de casa/Home number                        Telefono de o~dna/Office number                  Celular/Mobile
            yanu6a@yandex.ru /
      I     yanu666a@gmail.com
                Correo electr6nico/E-mail                                             Otros/Other
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 16 of 79 Page ID #:16




                                                                                                                                             P3gina

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        On May 20, 2022, the child was illegally moved from Mexico to the
                                                                          San Ysidro, U~
        The child was with his mother.



        EI 20 de mayo de 2022, el niRo fue trasladado ilegalmente de Mexico
                                                                                  a San Ysidro, Estados Unidos
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                                    V. DATOS DE LOS PADRESJ PARENT INFORMATIO
                                                                                                     N


          LEst~n o estaban casados? /Are you or were you married?                       ~                ❑                            P~gina ~ 7
                                                                                        Si/Yes           No/No


         En caso aftrmativo, por favor Ilene to siguiente:/ If so, please
          Marnage Palace of the Civil Registration                        complete the following:
             Directorate of the Administration of          I
             the ciN of Lipetsk                                                             I
                                                           1 ~rT /        ~~~~      I ~a1'6
          Lugar del matrimonio/Place of marriage                    Fecha /Date
              STILL MARRIED                                   ~ ~r;~~, ~       =~~~,~        ~~~L~
              Lugar del divorcio/Place of divorce                    Fecha /Date

          Hay alguna resolution o convenlo judicial relativo a los menores
        Is there any judicial decree related to the child(ren)?            ?/ ❑
       (En caso a~rmativo la misma deber3 anexarse)/
                                                                              Si/Yes                 No/No
       (If so, please attach it)

        LHabitaban juntos antes de la sustraccion?                                      ~                ❑
        Were the parents living together before the abduction)
                                                                                        Sf /Yes          No/No



       ?~c~~ f<~~~~a          F:a          ~                      ~icP~€€~s relacican~drss -case ci/ ~~s ~rarxnn~ ~~- e €    3r~ Si
       r~~c~:-                                 _          r~si~l~~~~ rr~~e~~rE~~. jP~~~;~e st~~€~ €f tf~~r~ ar,          ~      i~~
         t             g   ~rr€t      :`            tt~~s ra~.xci rr~;.=r~.spac~~> ~s(e~s~~ ~~~a~~s a~~€ti~n~i sh    s.
       At this time there is a trial that began on November 11, 2022 in case numbe
                                                                                   r
       2180/2022 in the Quintana State Judicial Branch.

       En este momento existe un juicio iniciado el 11 de noviembre de 2022
                                                                            en la
       causa numero 2180/2020 en el Poder Judicial del Estado de Quintana.




       DATOS DE CONTACTO DEL ABOGADO /ATTORNEY'S CONTACT INFORM
                                                                ATION

       (      )              ~                 I ( +52)555 401 7408               I
       Tel~fono directo/Direct line             Telefono de oficina/Office number                    Celular/Mobile

        Laura Yesenia CarreRo D(az and                    Acanceh Avenue, Super Bock 11, Bbck 2,lot 3, Floor 3.
        Mario Enrique Herrera Carrasco                    Postal Code 77504
        mariceherrera(~hotmail.com
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         NOMBRE DEL h4ENOR/NAME OF THE CHILD
                                                                                                                                      Pagina ~ 8

                   paterno/Last name               Apellido materno/Maternal last name Nombre(s)/First and Middle
                                                                                                                  name


         Fecha de nacimiento/Date of birth               Lugar de nacimiento/Place of birth        Nacionalidad/Citizenship


                   16 aRos el/Who will be the age of 16 years on           Sexo/Gender                Edad /Age


        Numero de pasaporte/             Y Fecha de Caducidad/                 Residencia habitual ANTES DE LA SUSTRACCION/
        Passport number                 and   Exp(ration date                    Habitual residence BEFORE THE ABDUCTION

        fINFORMAC16N F~SICA/PHY5ICAL INFORMATION



                    eight          Peso/Weight           Color deCabello/Hair color            Color de ojos/Eye color


                                                                                                                                  I
                                                      Senas particulares/Distinctive marks

        NOMBRE DEL MENOR /NAME OFTHE CHILD



                                    name        Apellido materno/Maternal last name Nombre(s)/First and middle
                                                                                                               name
             t ~         ?✓fit'3        ~ ~~~~~ 1 V

             de nacimiento/Date of birth                Lugar de nacimienta/Place of birth       Nacionalitlatl/Citizenship


               16 ar~os el/Who will be the age of 16 years on Sexo/Gender
                                                                                                    Edad /Age

                                         ~.3(    ~    t17L`E  ~ 'Y"i"v`Y
       ~Numero de pasaporte/ Y                  Fecha de Caducidad/          Residencia habitual ANTES DE LA SUSTRACCION/
       Passport number       and                   Expiration date             Habitual residence BEFORE THE ABDUCTION

      fINFORMACIdN F(SICA/PHYSICAL INFORMATION
      i.


                                                                                     I                                        I
       Estatura/Height         Peso /Weight            Color de Cabello/Hair color            Color de ojos/Eye color


                                                Senas particulares/Distinctive marks
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 19 of 79 Page ID #:19




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          It is necessary to conduct a complex of investigative activi
                                                                   ties to determine
        the actual location of the Ms. Chvanova I.I. or Mr.Chvanova I.D.
                                                                         and to
        undertake urgent measures to return the child to the Mexico.

         Es necesario Ilevar a cabo un complejo de actividades de invest
                                                                           igacibn Para
         determinar la ubicacion real de la Sra. Chvanova I.I. o el senor
                                                                          Chvanova D.I. y
         tomar medidas urgentes para devolver al menor a Mexico.
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                                                                                                        P~gina ~ 9



         Por favor, tan pronto como determine el paradero del nirlo y la esposa, aviseme directamente
         a mi o a mi abogado.

            Please, as soon as you determine the parade of the child and wife, notify
            me or my lawyer directly




        €}C)CUMENTOS i.~UE 5E ANEXANJ~OGUMENTS ATTACHED



            FOTOGRAPIA DEL MENOR/ES PHOTOGRAPH Of THE CHILDREN)

            FOTOGRAFIA OE LA PERSONA QUE PRESUNTAMENTE SUSTRAJO AL(LOS) MENOR(ES)PHOTOGRAPH OF
            THE PERSON ALiE6ED TO HAVE WRONGFULLY REMOVED THEtHII~(REN)
            COPIA CERtIFI[ADA Dfl A[TA DE NACIMIENTO DEL(OS) MENOR(E5)/CERTIFIED COPY OF THE BIRTH
            CERTIFICATE Of THE CHILDREN)

            COPIA CERTIFICADA DEL ACTA DE MATRIM1IIONIO/CERTIFIED COPY Of THE MARRIAGE CERTIFICATE


            SENTENCIA QUE DECRETA EL DIVORCIQfDIVORCE DECREE

        a
            ACUERDO O CONVENIO JUDICIAL RELATIVO A LA CUSTODIA Y/O AL EJERUCiO DEL DERECHO DE
            VISTA/JUDICIAL AGREEMENT CONCERNING CUSTODY OIt AtCESS

            OTROS(OTHER):

            Peticion de la Fiscalia al gobierno de Estados Unidos




                                                               15.02.2023
                   Lugar y firmajPlace and Signature                   Fecha/Date
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          In February 2022 my family decided to move to Mexico. I am
                                                                                      a
          businessman with 10 years of experience in the field of commo
                                                                                 dity
          business, and for me Mexico is seen as a country with great opportunities
         for my work and a good nature for my child. Since my wife doesn't
                                                                                 work,
          all family expenses are on me. We agreed that he will go to Mexico
                                                                                  with
          my son Ignat, arrange his life and start collecting papers for migrat
                                                                                   ion
         documents. While I was finishing up all the things related to my job,
          rented accommodations for my family in Playa Del Carmen and Cancu
                                                                                     n
         so they could choose the city they wanted to live
                                                                                    in.
               In May 2022 my wife stopped taking mycalls,sheanswered onlyintext,
            thought she was offended that I was taking so long to finish all the
         business related work and I did not pay much attention and went to
                                                                                   my
         family in Mexico. When I arrived in Cancun on May 28 my wife was not
         answering the phone and moreover was not online. Trying to find
                                                                                   my
        family in the area I was unable to do so,the same evening I went to Playa
         Del Carmen where also without success could not find them. None oftheir
         neighbors had seen them or could tell what was wrong with them.
               After several days of searching, on my phone number +79205216955
         began to receive photos of my son from unknown (different) phone
         numbers. I was afraid that my family had been kidnapped and I do not
        know ifthey are alive at all. I went to the police and then to the FGE,where
        after showing the photos, began to explain the situation, where I was
        hastened to assure that the phone numbers from which I was receivi
                                                                                    ng
        photographs belonged to the U.S. State of California and that it had
        nothing to do with them (the prosecutor's office in Mexico). This hopeless
        situation made me even more worried. Soon after literally a few days
        received            a          message          from         my          wife:
       "Don't call and don't look for us, I found a rich man and he will be the new
       father                       for                   my                   child."
               At that point I realized that my child had been deliberately taken to
       the United States with my wife's knowledge and I hired lawyers in Mexico,
        where we had already contacted the FGE with their help and supervision.
       To this day, no one from the authorities was able to explain to me how a
       four year old child was able to cross two borders without his father's
        permission               and          without            a          passport.
             Soon my attorneys said that the police were powerless in this matter
       and I had to go to court in Mexico and ask the court to grant me custody
       of the child for further transfer of this decision to the United States for
       execution. After several consultations with lawyers in the U.S., I was told
       that the Mexican court decision would have no effect in the territory of the
       U.S. since more than six months had passed since my child was in the U.S.
              In January 2023 I started studying civil law myself in order to find a
       solution to my situation. And while researching civil cases, I came across a
       diplomatic law about returning children to their parents. It is the Hague
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        Convention. After figuring out the issue, I immediately went to the child
        abduction office, where they told me what documents they needed to
        work                                                                with.
         With Regards DaniiL
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          Translation from Russian to English

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                                                             BIRTH SERTIFICATE

                                                                       Chvanov
                                                                        (surname)
                                                               Ignat Daniitovich
                                                        (given nurrrcs, patronymic(if available)
        was born on                                          «1» January 2018 y.
                                                                 (day, month, year)
       Place of birth: Russia, Lrpetsk region,Lipetsk city

       The corresponding record Ns 10

       thereof was made on the book of births 9 day of month JanuAryrn the year 2018

       Father                                                Chvanov
                                                                  ~~~~>

                                                             Daniil Viktorovich
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       «8» Jul 1990                                                                                            Russian
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       Mother                                                Ct~vanova
                                                                      (surname)

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      Primary State Registration Number(OGRN)1034800S775d7,Sovetskii department,Taxpayer IdentiCcatio
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Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 28 of 79 Page ID #:28




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        Division No.2 ofMi~ration Department of the Russian ML4
        Administration for Lipetsk
        Name o oulhoriud   y

        Date ~ri105~ 2022 /slgnalure/
        Round seal: Ministry of Tnterna[ Affairs ofthe Russian Federation
        480-002

        Stamp: Passport issued
        Series 66 Ns 3144459
        from April 19,2022
        Issuing authority: Administration of Ministry of Internal
                                                                  Affairs 0043
        Signature!signature/
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 29 of 79 Page ID #:29


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         1 PULYGLOT
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                   I, the undersigned IRYNA LYANZURIDI, a duly recog
                                                                         nized and authorized
                   translator of the Civil Registry Directorate General
                                                                         of Guanajuato State,
                   Mexico, registered under the number 07 in the
                                                                   List of Official Translators,
                  currently authorized for the 2021-2022 period, publi
                                                                           shed in the Official
                  Journal of the Government of Guanajuato State No. 248
                                                                              Second Part, on
                  becem~er 11 ~~, 2020 (pages 19-23), and under the numb
                                                                             er 2 in the List of
                  Authorized Experts of the Judicial Power of Guana
                                                                         juato State ; hereby
                  certify that this translation from RUSSIAN to ENGL
                                                                         ISH of the attached
                  copy of the MARRIAGE CERTIFICATE, consisting of
                                                                          ONE page, is exact
                  and trustworthy, to the best of my knowledge and belief,
                  NOTE: T~+:c PkTROf^1Ih~IC NAMES GF ?Hc SPCiiS ~F
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                               Issued in the city of Leon, Guanajuato, on June 17~`',
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                  Cast na~roe: Chvanov
                 Name:           Daniil                                           Patronimic Warne: ViktordviCh
                  Citizenship: citizen of Russia
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                                                                                                 ceieorations.   Russian
                 Date of birth: 8t" of July, 1990
                 Place of birth: C. Llpetsk
                 and

                 1_.asT came: Yakovleva
                lame:           18n1                                              Patroni~7iic name: IgOr'2Vt1a
                 Citizenship: citizen of Russia
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                                                                                    m<.rria e c~i~n;~~,o,~:      Russian
                 Data of birth: 3rd of September, 1991
                 Place of bi,-th: e. Lipetsk

                 celebrated marr•iaee on 14.07.2016 fourteenth of July, two thousand sixteen
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                 whereof on the 14~h day of the month of July of the year 2016
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                 in the register cf ir~an•ia es under the \e, 753.
                Upon marriaSe, tl e pasties assumed their last names as follo«s:
                hu»and        Chvano~
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                State regi~~ra~ion place -Marriage Palace of the Civil Registration Directo
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                Da*e of issuance: 14~h of July, 2016
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                                                              BIRTH SERTIFICATE

                                                                        Chvanov
                                                                        (surname)
                                                                Ignat Danii[ovich
                                                          (uivcn nantu,patronymic(if available)
        was born on                                           «1» January 2018 y.
                                                                   (day, month, year)
       Place of birth: Russia, Lipetsk region, Lipetsk city

       The corresponding record Ns 10

       thereof was made on the book of births 9 day of month J'anuar~ in the year 2018

       Father                                                  Chvanov
                                                                        (surname)

                                                               Daniil Viktorovich
                                                            ivennamu         tron rnic ifavoiluble

                                                                         Russia
                                                                       (citizenship)
       «8» Jul 1990                                                                                           Russian
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       Mother                                                 Chvanova
                                                                       (sumamc)

                                                                 IanaI orevnu
                                                         {given names, patronymic(ifavailable)

                                                                        Russia
                                                                       (citizenship)
      «3» Se tember 1991                                                                                      Russian
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                                                              II -PR JVa 558279
      Round seal: /Lipetsk Region, Civil registry directorate,Lipetsk city edminisvation euthorily,
      Primary State Registretion Number(OGRN)!034800577547,Sovetskii dep~runent, Taxpayu Identification
                                                                                                                 Number(MN)4826040808
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 39 of 79 Page ID #:39



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        Stamp; Acquired the citizenship ofthe Russian
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        Division No.2o{Mi ration Department Qf the Russian ML4
        Administration for Linetsk
        Nameo uulhoriud   y

        Date Sri!OS. 2022 /slgrtature/
        Round seal: Ministry ofInternal Affairs ofthe Russian Federation
        480-002 — —

       Stamp:Passport issued
       Series 6b Ns 3144459
       from April 19,2022
       Issuing authority: Administration of Ministry ofInternal Affair
                                                                       s 0043
       Signature /signature/
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 40 of 79 Page ID #:40




         ~'hi~ is accurate and complete trac~slat on ofthe original.document from Russian into English.

         Translator
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  Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 41 of 79 Page ID #:41

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       1 POLYGLOT                                                                                         c                                                       ,a .
               T R A D U C C(ONE S

                                                                                                                                                D~iPLICADO

                                              CERTIFICADO DE NACIMIENTO


                                                   I~nat                      Daniilovich                     Chv~nov

               N dC10:                           CI I" de        enero de 2018 (cti~, ree, ad;;

              t..ugar de nacimiei~ta             Rusia, provincia de Li~etsk, c. Lipetsk

              de que fue hecha la anataci~~n cc~rrespoi;diente del actin dz
                                                                            nacimiento el dia 9 del rues de
              enero del arSo 201.8 bajo el tio, lU.


              Padre                             Daniil                    ~'iktorovict~                Chvanav
                                                 ~io~nbre                  pa~ror,irii:n psi hu.~;         LpMitd.

              Ciudad<<nia                      de Rusia                     Fecha de nacimiento:               el 8 de Julio de 1990
             N a::ionslidad (se rertistra a peticiorr clel padre):                        ruso


             Madre                             Iana                       Igorevna                   Chvanor~a
                                               n.0 ~ni~~ro              paVonimicC (?i hey!            OpCilidC

             C'iudadania                      de Rusia                     Fecha de nacimiento:               el 3 de septiembre de 1991
             Nacionalidad (se registry a peiiciLin de la madre): rusa


             Lugar de re~istro estatal: 94800006 llepartamento
                                                                  "So~~etskiy" de la Administracibn 1~lunicipal
                                        de Registro Civil de la Ciudad de Lipetsk
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            Fecha de expedition:              el 30 de marzo de 2022

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                                             Regisiro Civil de la Ciudad de Lipetsk de la pro~~incia ~e Lipe~sk
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Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 43 of 79 Page ID #:43




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               AdquiriG la ciudadania de la l~ederacibn                                  Srilc rectangular:
                                                            Rusa                            PASAPORYE EXPEDIDO
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      OFICIAL ho. 248 SEGUNDA PARTS, El DIA                                                022. PUBLiCADA EN EL PERIODICO
                                                i1 OE DIGEMBRE DE 2020 (P~IGINAS
      JUDICIAL DEL ESTADO DE GUANAJUA                                                  19.23j', Y POR EL CONSEJO DEL PODER
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                                                   EGAL 308, INT. 14, COL. LOMAS DEL
      MEXICO,C.P. 37150, TEL. +52(477) 718-04                                              CAMPESTRE, LEON, GUANAJUATO,
                                              .15. EMAIL: contactcra po~y~~let.ccm.mx.
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            CIVIL CODE fOR THE STATE OF QUINTANA R00

            SEVENTH CHAPTER
            ABOUT DICIORCE

                                                                                            obligated to
           ARTICLE 804. -The spouses that petition ,for divorce by mutual consent, are
           present before the jury, an agreement where the following matters   are  attended:
                                                                                                      of
           I Designation of the person who will be trusted w kh the care of the underage children
           :
                                                      visitation system, both during  the procedure and
           the marriage, and will also agree on the
           after the divorce is effective;
           II.- The way of complying with child support obligations,:both during the procedure and after
           the divorce is effective; and the warranty offered to ensure this obligation, warranty which
            m ust contemplate the alimony at least for a year;
            III.- The house that will be the residence for each of the spouses during the procedure;
            IV.- The amount that one spouse must pay to the other during the procedure, ampun# that
                                                                                                 warranty
            rorresponds to alimony, the way in which the payment isto be carried out and the
            to ensure it;
            V.- The way of administrating, during the procedure, the marital community and how to
            liquidate it once the divorce is effective, in order to do this, an inventory, appraisal and
            balance will be attached.

            ARTICLE 810.- Necessary divorce must be petitioned. due to facts that the defendant spouse.
            is charged for, legal causes for divorce and :must be inside the posterior six-month time
            frame that contemplates that during this time the plaintiff became aware of the information
                                                                                                     or
            that defendant is being charged for, the exception to this time frame is successive
            continuous causes. The divorce due to domestic violence can be  claimed at any time.


            ARTICLE 814.- When the petition for divorce is admitted, or before in case it is urgent, the
                                                                                                       trial,
            following dispositions will be provisionally dictated, these will oily be effective during
            without the. need of a previous hearing or presence of both parts involved, these
            dispositions are:

            I.- Separation of the spouses. Far this effect, the judge will take into consideration the family
            interest, the possibility of domestic violence,-and what is mast convenient.for the children,
            which of the spouses will conCinue to live at the family home and the elaboration of the
            inventory of the assets and belongings that are still in it and will order the delivery ofi his/her
                                                                                                                   The
            clothes and the necessary belongings for the exercise of his/her profession, art or job.
                                                                            is located.   If this  turns  out    to be
            spouse must. inform the.judge where the marital domicile
            controversial, the judge will decide after    hearing  both   parts  involved.      Dissolution    of  the
            m arital community decreed by the judge interrupts the terms referred in article 799 of this
            code;                                                                                                        ,,
            II.- Only at the female spouse's request, will she be authorized to separate herself frq{~pti               ~~:"
             m arital domicile.She must inform the judge of her address, and the judge will order ~                    C;
                                                                         belongings   for    the   exerci  ~           i       ~
            clothes must be delivered, along with the necessary
             profession, art or job.                                                                       ~    '~ ~'      .~~
             III.- Prevent both spouses from molesting each other in any way;                                ~~'H ~~~~~
                                                                                                                    ~~
             IV.- Indicate and  ensure the ailments that the  maintenance    debtor   must    give  tot   e  creditor
            and to the children;.                                                                  ~ ~~~ ~`~''~~~~"'~'-~ ~``~`'~~u'~t~
            V.- Dictate the precautions that are Considered necessary so the spou~'~~'l                         ~€       ~ ~~~~~
                                                                                                                         ~
                                                                              assets, if it  is tl~          t
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            each others belongings, as well as the marital communit~s
             prohibited for the spouses to alienate or mortgage property      assets of  the    marital domicile     or
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 48 of 79 Page ID #:48




            CIVIL CODE FdR THE STATE OF QUINTANA ROO

            SEVENTH CHAPTER
            ABOUfi DItIORCE

                                                                                           obligated to
            ARTICLE 804. -The spouses that petition for divorce by mutual consent, are
            present  before the jury, an agreement where the following matters are attended:
                                                                                             children of
            I.- Desigpat~on of the person who will be trusted with the care of the underage
                                                                             during  the procedure  and
            the marriage, and will also agree on the visitation system, both
            afterthe divorce is effective;
                                                                                                      after
            II.-The way of complying with child support obligations, both during the procedure and
                           effective; and. the warranty offered to  ensure this obligation, warranty which
            4he divorce is
            m ust contemplate the alimony at least for a year;
            III.-The house that will be the residence for each of the spouses during the procedure;
            IV.- The amount that one spouse must pay to the other during the procedure, amount that.
            corresponds to alimony, the way in which the payment is to be carried out and the warranty
            to ensure it;
            V.- The way of administrating, during the. procedure, the marital community and haw to
            liquidate it once the divorce is effective, in order to do this, an inventory, appraisal and
             balance will be attaEhed.

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            is charged for, legal causes for divorce and must be inside the posterior six-month time
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            ARTICLE 814.- When .the petition for divorce is admitted, or before in case it is urgent, the
            following dispositions will be provisionally dictated, these will only be effective during trial,
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            dispositions are:

            I.- Separation of the spouses. Far this effect, the judge will take into consideration the family
            interest, the possibility of domestic violence,.and what is most convenient far the Children,
            which of the spouses will continue to live at the family ht~me and the elaboration of the
            inventory of the assets and belongings that are still in itand will order the delivery ofhis/her
            clothes and the necessary belongings for the exercise of his/her profession, art or job. The
            spouse must inform the judge where the marital domicile is located. If this turns out to be
            controversial, the judge will decide after hearing both parts involved. Dissolution of the
            m arital community decreed by the judge interrupts the terms referred in arkicle 794 of this
             code;
             II.- Only at the female spouse's request, will she be authorized to separate herself fropp           :~~ '.
             m arital domicile. She must inform the judge of her address, and the judge will order.,'"
             clothes must be delivered, along with the necessary belongings for the exerci       '
             profession, art or job.                                                                    ~~ ~. ~jy~;,~"
             III.- Prevent both spouses from molesting each  other in any way;                         °;,       ~,~t:~
             IV.-Indicate and ensure  the ailments that the  maintenance  debtor  must give  tot   e  creditor
             and to the children;.                                                          ~                    y"
             V.- Dictate the precautions that are considered necessary so tf~e spou           'j ` C~l~~c~ r'~ ~'~~~1 ~+' ~,~r~
             each others belongings, as well as the marital community's assets, 1f it is tl~~ ash;°~~~''~lvrlfi'~~e ~~ ~~'~~~` ~~~
             prohibited for the spouses to alienate or mortgage property assets of the marital domicile or
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            CIVIL CODE FOR THE STATE OF QUINTANA ROO

            SEVENTH CHAPTER
            ABOUT DIttORCE

            ARTICLE 804. -The spouses that petition for divorce by rnutual consent, are obligated to
            present before. the jury, an agreement where the following matters are attended:
            I.- Desigpat~on of the person who will be trusted with the care of the underage children of
            the marriage, and will also agree on the visitation system, both during the procedure and
            after the divorce is effective;
            II.-The way of complying with child support obligations, both during the procedure and after
            the divorce is effective; and the warranty offered to ensure this obligation, warranty which
            must contemplate the alimony at least for a year;
            111.-The house that will be the residence for each of the spouses during the procedure;
            IV.-The amount that one spouse must pay to the other during the procedure, amount that.
            corresponds to alimony, the way in which the payment isto be carried ouY and the warranty
            to ensure it;
            V.- The way of administrating, during the procedure, the marital community and .how to
            liquidate it once the divorce is effective, in order to do this, an inventory, appraisal and
             i~alance wiU be attached.

            ARTICLE 81U: Necessary divorce must be petitioned due to facts that the defendant spouse
            is charged for, legal causes for divorce and must be inside the posterior six-month time
            framethat contemplates that during this time the plaintiff became aware of the information
            that defendant is being charged for, the exception to this time frame is successive or
            continuous causes. The divorce due to domestic violence cen be claimed at any time.

            ARTICLE 814.- When .the petition for divorce is admitted, or before in case it is urgent, the
            fallowing dispositions will be provisionally dictated, these will only be effective during trial,
            without the need of a previous hearing or presence of both parts involved, these
            dispositions are:

             I.- Separation of the spouses. for this effect, the judge will take into consideration the family
             interest, the possibility of domestic violence, and what is most convenient for the children,
             which of the spouses will continue to live at the family home and the elaboration of the
             inventory of the assets and belongings that are still in it and will order the delivery of his/her
             clo#hes and the necessary belongings for the exercise of his/her profession, ari or job. The
             spouse must inform the.judge where the marital domicile is located. If this turns out to be
             Controversial, the judge will decide after hearing both parts involved. Dissolution of the
             marital community decreed by the judge interrupts the terms referred in article 799 of this
             code;
             II.- Only at the female spouse's request, will she be authorized to separate herself frgt~p4 s~ ~ .      ".
                                                                                                                     ~
             marital domicile_ She must inform the judge of her address, and the judge will order,;              t'~
             clothes must be delivered, along with the necessary belongings for the exerci
             profession, art orjo6.                                                                   ~+',~,~ ~~`~~"i~~
             III.- Prevent boCh spouses from molesting each other in any     way;                      ~'~.~:~~-~~~s
             IV.- Indicate and ensure the ailments that the maintenance       debtor must  give to the  creditor                   ~, ~
             and to the children;.                                                        ~~~~~           1~~ ~~  '''  `~~' ~~~~'~`~~`'~
             V.- Dictate the precautions that are considered necessary so tl~e spou~~l~t i'~3g~- `~ ~'~~`+1~}~j~                ~ ~~~~
                                                                                                                      =~G
             each others belongings, as well as the marital community's assets, if it is tFr~$~ S~~~i~{Tv~#~b~~"
              prohibited for the spouses to alienate or mortgage property assets of the marital domicile or
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                          any asset of the marital community. When there are assets that belong to both spou"s'e5,
                          there will be a preventive registration of the petition at the Public Registry of the Property of
                          the State of Quintana Roo and at any place where they are known to have assets in;
                          VI.- Dictate, cautionary regulations that the taw establishes in regards to the woman
                          becoming pregnant;
                          VII.- Place the children's care in the hands of the person that has been designated after a
                          m utual agreement of both spouses, it must be one of them, and having the possibility of
                          shared custody, respecting at all times the dispositions indicated in this Cade about this
                          matter. If spouses cannot reach an agreement, the Family Court Judge will decide,
                          considering that when children are under 12 the custody rights will be granted to the
                          mother,. establishing the terms of visitation rights or access, according to article 1024 BIS,
                          complying with parenting obligations, taking into consideration the opinion of the underage
                          child, which will be assisted if needed by the Officer of Minors,. who is part of the Qffice of
                          the Attorney General in Defense of the Minor and the Family of the State of Quintana Roo.
                          The judge, at any time and before the trial is terminated, can modify his determinations,
                          establishing terms and regulations that he might consider necessary in order to benefit the
                          minors involved along with their assets, with no further limitation than this benefit itself,
                          being able to grant the custody of such minors to a third party or educational institution;and
                          confide.the management of the assets to a fiduciary institution.

                          VIII.- In the cases where domestic violence is alleged, the judge will be able to decree,
                          actording to evidence presented and with the objective -of preserving the integrity and
                          safety of those involved, the following precautionary regulations:
                          a).- Order the retreat of the spouse who is being sued of the residence where the family
                          inhabits.
                          b).- Prohibit the presence of the spouse who is being sued in specific places, such as the
                          domicile or place where the affected ones work or study.
                          c).- Suspend custody and parental rights and duties of the spouse who is the alleged
                          aggressor, prohibit him from approaching the affected ones establishing astay-away
                          distance dictated by the judge. This suspension will be independent from the spouse's
                          obligations in terms of alimony. Any other emergent, preventive, or cautionary regulation of
                          civil nature will be in accordan€e to the Law of Women's Right to a Life Free of Violence of
                          the State of Quintana Roo.

                          IX.- It will require the presence of both spouses, under oath, to elaborate an inventory of
                          their assets and rights, as well as the ones that are registered as common property,
                          specifying the title under which they were acquired, their estimated value, existent
                          prenuptial agreements and a distribution project; and

                     ,X.- During the procedure, complimentary information will be collected and corroborated in
               .{''~     ~ it is needed. In case the minors (under 12) are the targets of domestic violence they
                     sl~q`~++d remain fn the care of the mother,. except in cases of domestic violence Caused by the
        ,~ ~f   ~ ~~
             ~c~,~~~1~t~r'er.   The preference towards the mother when granting custody will not be affected by
            ~=~
           ~„~;7z~ '~pr.lack    of economic resources. Any other emergent, preventive, or cautionary regulation of
          '  '~~~ ~r-ivil nature will be in accordance to the Law of Women's Right to a Life Free of Violence of
~`{",~PIia7~ RCLA~:.1     ~~R~         ~tana Roa
                                 F'eLJ~iL4d L~`F
 F+tR~4VfU1 ~ V~i`$ti RPT~ L.'~ f
    ~ ~~~~~~,~~e~ E~}~~~         -The divorce decree that is pronounced as definite, will fixate the situation of
                    the children, for which the Family Court judge must resolve everything related to the
                    parental rights and duties, its lass, suspension, limitation or recovery according to the case,
                    and particularly the custody and care of the children, along with the parenting obligations.
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            Moreover, the decree must include the regime established for visitation and access,
            according to the provisions of articles 1024 Bf5 of this Code,the decree must also contain:

                i.   All the necessary precautions to protect the children from domestic violence or any
                          other circumstance that may hurt or damage their full and peaceful
                          development;
                II. The necessary precautions to guarantee that the children spend time with their
                          parents, right that will only be limited or suspended when this entails a risk for
                          the minors;
                III. For the case. of disabled minors, subject to the guardianship/custody of a former
                          spouse, in the divorce decree the required provisions must be established for
                          their protection;
                IV. Any other required precaution to guarantee the wellness, development, protection
                          and superior interest of the minors. The cautionary regulations for Children may
                          also include safety precautions, follow-up of the sued spouse, hisJher
                          attendance to therapy in order to avoid and correct acts of domestic violence,
                          this may only be suspended or modified depending on how the case develops
                          and according to what is established in the Code of Civil Procedures of the State
                          of Quintana Roo.

            ARTICLE 816.- To comply with the dispositions of the previous article, the judge during the
            procedure, at the request of the interested part, must seek necessary elements aid will
            have to:

            I.- Go to the Public Prosecutors Office, and hear a tutor designated for the Children, the
            grandparents, uncles, older brothers and people who are friends orrelati~es of the spouses'
            families, and can inform the judge about what is best in terms of custody of the minors;
            II: Hear the minors if they can express themselves, they should be rightfully assisted by the.
            Officer of Minors, who is part of the Office of the Attorney General in Defense of the Minor                       y
            and the Family of the State of Quintana Rao;
            III.- Ensure the children's alimony at all times, which can be modiflied by the judge at any
            time as bong as they da not reach the majority of age.

            ARTICLE 816 BIS.- In case the parents have agreed to the shared guardianship and custody
            according to what is established in fraction VII of article 814, the judge, in the divorce
            decree, must guarantee that both spouses comply with parenting obligations withou# it
            implicating a risk in the children's habitual lives.

            CHAPTER Vlll
            ABOUT DOMESTIC PARTNERSHIP

            ARTICLE 825 BIS.- The domestic partners have mutual rights and obligations, when withput
            having legal implications that have impeded them#rom getting married, have lived to e~tf~~;-a
            in a constant and permanent way far a minimum of two years that immediately pre              ~ ,, e~,`~,
            generation of rights and obligations that this chapter mentions. The periQ ~ ,~~°~ ~~
            mentioned previously is not necessary when, fulfilling the other rsquisixes, they h      ~~          '~ ?'
            together. If many  unions  of such type are established with one same  person,  none              „ ~  -~~
            will be considered domestic partnership. Whoever acted in good faith may sue the $f~i~7`'..
            asking for compensation for damages.                                         ~ ~ ~~+~~ r ,_.~~.G!~: k~;E~;T~ ~,I~,.~"?se'+
                                                                                            ~RLCC, t~~! G~F~~PRI:QEPFt(~t~`;G~~t
                                                                                              I~MFXlGI,~s~~~~ ~t~i~6E: '~2fQ#~
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                             ARTICLE 825-TER.- All the rights and obligations inherent to family wiU regulate domestic
                             partnership when applicable. .Domestic partnership_ generates maint~'~nce claims and
                             inheritance rights, aside from all other rights and obligations recognized in this code or in
                             other laws.

                             FOURTH TITLE
                             ABOUT PARENTAL RIGHTS AND Di1TIE5

                            FIRST CHAPTER
                            GENERAL RULES

                            ARTICLE 991.- The parental rights and duties are the group of rights and obligations which
                            are acknowledged and granted by the law to the parents aid grandparents in=terms of the
                            relationship with their children, or grandchildren, for them to look .after, protect, and
                            educate them, procuring an environment of respect at all times, amongst themselves and
                            towardstheir belongings. Children who are minors wil( be under the custody of their parents
                            or maternalJpaternal grandparents (with no preference towards one or the other}., in the.
                            cases signaled in the Code. Children and their ascending immediate relatives are entitled~to
                            m utual respect and consideration.

                            ARTICLE 992: Unemancipated minors are subject to parental rights and duties as long as
                            there are ascendants that may execute it.

                            Article 993.- The Parental Rights and Duties are unalienable and. those who execute them
                            cannot be deprived of them, except due to judicial resolution, responding to the causes
                            established in article 1018 BIS.

                            Amide 944.- Both mother and father will execute Parental Rights and Duties collectively, one
                            of them will do it if the other is diseased or is legally disabled, if both are diseased or
                            disabled, it will be executed by;
                            I.- Paternal grandfather and grandmother; and
                            II.-Maternal grandfather and grandmother,

                           ARTICLE 999 BIS.- The parents, or in case they're absent, those who execute parental rights
                           and duties, guardianship, definite or provisional custody of a minor, regardless of them living
                           under the same.roof as the children, must tomply with the following parental obligations:

                    I.-Provide ailment, in the terms of the Second Title, Second Chapter of the Third Book of this
                   code.
                   II.- Offer them a social and family environment in the terms of article 983 BIS 1 of this code,
                   procuring their physical, psycho-emotional and sexual safety, inducing self care and
                   assertiveness;
                        Foster adequate eating, personal hygiene and physical development habits;
              ~
              ' ~ ,(4~ rovide forma! and informal education, promoting theft intellectual and educational
                :
                ~ ~~es;

                   ~.~.

       ~~~~ ~' "'' ',~~L1~jI~~C1~C ~~rery person has a rightto an adequate environment far his development and wellness. Consequently the
 ~~~~i.t, , ~-~ ~ 1 ~ A~T,               ~ rentitled to be 2spected by the other family members in terms of physical, emotional, sexual and
  ~ ~~~~1'~^.~ , y   i y c .~p~                wFich must 6e free of domestic violence, in order to contribute to a heakhy upbringing and to an active
                                         d~~
                                           participation in society. The Public Instkutians according to the Law of Assistance and Prevention of
                        Domestic Violence of the State of Quintana Roo will provide assistance and proteaian. Moreover, in cases of domestic
                       violence, all types of procedures for ronciliation or metliation for its resolution are prohlhi{pd.
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            V.- Shaw demonstrations of affection with respect and acceptance of the minor; informing
            them, according to their age and development, of the various types of physical violence and
            sexual abuse;
            VI.- Promote decision making and the respect of their opinions; and
            VII.- Determine the limits and rules of conduct preserving tfie superior interest of their
            childhood. It will be considered. non-compliance of parental obligations, that the previously
            mentioned activities are not carried nut without justification, in a permanent and systematic
            way; this will 6e evaluated by the judge in the cases of suspension of parental rights and
            d uties, determination of guardianship, provisional and definite custody, regime of visitations
            and access. If any of the parents. has extensive working hours, this is not considered non-
            compliance.

            ARTICLE 995.- The order of preference will be established by unanimous agreement of the
            grandparents, those who survive and are not disabled, in case such agreement is not
            reached, the judge by hearing those people whose. opinion he considers relevant, afid by
            hearing the minor if he/she can express him/herself, will resolve what he believes to be
            most convenient and this resolution can be modified at any time, as long as it is benefic,for
            the minor.

            ARTICLE 996.- Custody will not be exercised by those who have been declared mother or
            father, in cases of investigation of paternity or maternity trial, unless the judge considers this
            custody is tonvenientforthe minor.

           ARTICLE 997.- In case the parents live in separate domiciles, and in case the minors are
           under 12,the custody will be granted to the mother, unless this entails a danger or risk. The
           other spouse is obligated to collaborate with their ailment and upbringing, by keeping the
           right of access with the minor, according with the provisions established in the agreement or
           judicial resolution.

           ARTICLE 997-BIS.- Children who are under the parental rights and duties of their parents
           have the right to spend time with both of them, even when they do not live under the same
           roof. Personal relationship between the minor and his ascendant immediate relatives will
           not be impeded without just cause. In, case of oppos(tion, petitioned by any of them, the
           judge will resolve what foAows after a previous hearing with the minor, rightfully assisted by
           the Officer of Minors Only by judicial mandate, will this right be limited or suspended
           considering non-compliance of parental duties, danger to the health or physical,
           psychological and sexual integrity of the children.

            SECOND CHAPTER
            ABOUT THE EFFECTS OF PARENTAL RIGHTS ANO DUTIES

            ARTICLE 498.- Those who exercise parental rights and duties must feed those who are
            subject to it, accompany them, protect them, educate them, guide them, and provide an
            adequate environment free of domestic violence_                                    ~~'~`~;~ ~
                                                                                                    ~F~ ~vFF~~  f~'t
                                                                                                            'St ;~ a
                                                                                                      1 r~
           ARTICLE 999:The educaXion referred to in the previous article, comprehends the f~q~~~~~~~}
           bearer of the parental rights and duties, custody or guardianship has to estabfi~sh 2 ~ ~`_ `~~
           the minor, as well as procuring an environment of respect towards his. physical,. p~~h~7h~'~'
           emotional, and sexual integrity, free of domestic violence conducts and'   d j~~j
            them, by themselves ar through another person or institution, an arj~~~~c~~~ a           RTES ~:~ "~ ~R(
            according to their personal circumstances.                                                      ~ a~ p~c~~r~~~ac~
                                                                                ~(1+t~X~~AI~QS EP~1 Ei ~?('`c'f{~~}rT
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                   The duty of establishing limits does not imply inflicting acts of violence on the minor, that
                   rn~y attempt against his integrity in terms of the provisions of this code, therefore, any
                   calling of attention or eliciting that the parents or tutors may tarry out for an adequate
                   behavior with all the members of the family unit, will be respecting their opinFons ag.~n+ell, in
                   order to seek the democratization of the family unit too.

                    ARTICLE 499 BIS.- Officer of Minors will be understood as thc-psychology, social work, or
                    pedagogy professional, who is a member of the Office of the Attorney General in Defense of
                   the Minor and the Kamily of the State of Quintana Roo, dependent of the Office of the State
                   System for the Integral Development of the Family of the entity or any other private or
                    public institution recognized by it, who assists the minor, in order to facilitate his free and
                   spontaneous communication, provides psycho-emotional protection in all the sessions
                   where he is heard by the judge in private, without the presence of his parents. Such Officer
                   will be able to request up to twa interviews before the minor's hearing, being mandatary for
                   the parent to have the guardianship and custody of the minor and fulfilling the officer's
                   requirements. In case there is a disagreement about the access, or change of guardiansh_~p
                   or custdtly,~n the controversy or incident the minor shall be heard, a designated Officer of
                   Minors will assist him. The minor will receive assistance in otherfamily incidents whenever it
                   is requested at the Public Prosecutors office. The Judge of First Instance will request the
                   presence of such Officer, whom with simple designation and without the necessity of
                   rati#ying his position will attend such hearing, taking into consideration the scheduling of
                   hearings that he has as an Officer of Minors.

                   ARTICLE 1000.- Minors who are subject to parental rights and duties have the duty of living
                   at the home of those who exercise it, or in the educational institution that they designate.

                   ARTICLE 1001.- The authorities will. assist the bearer of the parental rights and duties
                   whenever it is required in arder to execute it properly.

                   ARTICLE 1002.- Those who execute parental rights and duties are the legitimate
                   representatives of the minors subject to them, and have the legal administration of the
                   assets referred to infraction II of article 1005.

                   ARTICLE 1003: When parental rights and duties are executed collectively by the mother and
                   the father, or by the grandfather and the grandmother, or Bythe adoptive individuals when
                   they are husband and wide, the administrator of the assets will be named by mutual
                   agreement, this designated person will consult his partner in every business and will require
                   his/her consentfor the most relevant acts of this administration.

                  ARTICLE 1004.- Only one of the bearers of the parental rights and duties will be able to
                  represent the children at trial, he will not 6e ahle to appear and enter any agreement to
             ys~U    urinate it if he doesn't have the consent of his partner, and if he doesn't have judicial
          .`~   y;~' orization whenever the law requires it.

            ,,~~ , iCLE 1U05: The assets of the child, as long as the parental rights and duties are valid, are
          ~3-~„~~}`!t~e~ded into two tlasses:

° -' ~~~~ '~ ~ '' ~F:~~~       ed through his job; and
~~Gi~,3CJ ~ _~JC~ ,LN'~~,~'¢~~~ed through any other title,
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             ARTICLE iDOfi.-The first class assets belong in property and administration to the child.

             ARTICLE 1007.- The second class assets, belong in property to the child and the
             administration torresponds to those who execute the parental rights and duties.

              ARTICLE 1008: When by disposition of the law, or by wilt of the bearers of the parental
             rights and duties, the child has the administration of the assets, he will be then considered
             emancipated, with the restriction that the law establishes to alienate and encumt~er real
             estate.

            ARTICLE 1009,- Those who execute parental rights and duCies cannot alienate or encumber
            in any way the properties or precious furniture that correspocid #o the child, only if it is a
            case of absolute necessity or of evident benefit and it requires previous judicial
            a uthorization.

            ARTICLE iQ10.- The bearers of parental rights and duties will not be able to appear and
            enter leasing contracts for a period longer than five years, or receive anticipated rent far
            more than two years, sell commercial, industrial, financial values, rent titles, `'stock, or
            earnings obtained at a lower value than the one Listing on the current date, or donate the
            child's assets or request the remission of these, or pay a bail in representation of such.

            ARTICLE 1011.- Every time the judge grants a leave to those who execute parental rights and
            d uties, to alienate a property or precious furniture that belongs to the minor, he will take
            the necessary precautions to ensure that the result of this exchange is fully dedicated to the
            object it was originally destined to and for the rest to 6e invesCed in the acquisition of
            another property, or in financial bonds issued by bank institutions or imposed with an
            ensured mortgage in favor of the minor.

            ARTICLE 1U1~.- In the meantime, the price of the sale will be deposited in a credit
            institution, at the highest interest rate and the person who executes the parental rights and
            d uties will not be able to access it without a judicial order.

            ARTICLE 1013: to every rase where those who execute the parental rights and duties have
            an opposite interest against the desires of the children, they will be represented by a special
            tutor in and outside of court.

            ARTICLE 1014.- The judge will designate a special tutor for each minor in case the opposition
            is between two or more minors subject to the same bearer of parental rights and duties.

            ARTICLE 1015.- The judges will indicate the necessary precautionary regulations to impede
            the diminishing or wasting of the assets due to a bad administration of those who execute
            the parenCal rights and duties.                                                       ~ ~i~ ~` w

            ARTICLE SQi6:This regulations will require those mentioned in article 9902 or the jud~lY~~ ~~~.,    ~t~,y~
            assist the minor without tfie petition having to be written.                         ~' `' ~r`~_:~; '" ~s
                                                                                                        ~

                                                                                                                     ~'ra~i~~F~:~.~~ ,LLB.- ,~;,r~•=~x
             Article 900:The Officer, Delegate or Sub delegate of the Civil Registry and the notary who.violates article      Wn+YE'~~'~~~ ~~ ~~ GjY}~~i~l ~
            su6Jected to a fine fnr the amount of 10 to 20 daysof minimum wage. Article 698:When the mother ar father recognlxes a
            child separetely,they will rat reveal the name of the person who procreaked with them, or expose any circumstance through
            which this person may be recognized. The wortls that contain thts revelation, will be attested at the court's own motion, so it
            remains as illegible.
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                                                                                                     and duties must
                       ARTICLE 1017.- The people who perform as bearers of the parental rights
                                               when they emancip ate or reach the majority of age, all the assets that
                       give to their children,
                       belong to them.

                       THIRI3 CHAPTER
                                                                            MAY BE TERMINATED OR
                       ABOUT THE WAY5 IN 1hlHICH PARENTp~.~IGHTS ANQ DUTIES
                       SUSPENDED AND WAYS IN WHICH  CUSTOD Y MAY BE LOST

                       ARTICLE 101$: Parental righCs and duties are terminated:
                                                                                               person to whom it tan
                       l.- By the death of the person executing them, if there isn't another
                       be reflected upon;
                       II.-With the emancipation of the minor,:
                       II1.- When the minor reaches the majority of age;
                                                                                             them
                       IV,- By judicial resolution that determines the Ioss or suspension of

                                                                                               judicial resolution, if its
                        A RTICLE 1018-BIS.- Parental rights and duties are only lost through
                                                              indicated in fraction III of article 1019 of this code, if
                        suspension is decreed due to causes
                        any of the following were committed:
                                                                                                      well as the spouse, on
                        I.- in the event of continued domestic violence against the minor as
                                                                                          or if this event  is occurring with
                        behalf of those who execute the parental rights and duties
                                                                               time  and  place   must  be signaled ;
                        their consent and tolerance, conditions of manner,
                                                               against  the   minor's    physical,    sexual,  .emotion al or
                         II.- When the bearer attempts
                                                            offense, for  which   heJshe   has   been   condemn   ed  through
                         psychological integrity, a willful
                        final judgment;
                                                                                                    with a third party of one
                         III.-When the bearer abandons the child, leaving hirn/her to chance
                                                                                   objective   of getting  rid of his parental
                         or more people, in a private or public place, with the
                         obligations or parental rights and duties; and
                                                                                                          bears the parental
                         IV.- When leaving a child in the care of a person or institution, he who
                                           stops  assisting without  a justified cause  for  more    than  three months, the
                         rights and duties
                         upbringing needs and affective demands of his/her child.

                        ARTICLE 1019: Parental rights and duties are suspended:

                        I.-Due to judicially declared disability;
                        II.-Due ta-declared absence;.and
                        III.- Due to judgment that imposes suspension as a penalty.
                                                                                              consideration that they
                        IV.- For not allowing meetings, gatherings to take place, taking into
                                                                        judicially approved agreemen t.
                        were decreed by a competent authority or by a
                                                                                                    automatically suspends
                             ARTICLE 1019 815: The suspension of parental rights and duties
                                                                                                 and duties entails the loss
              ~~,;,«A~~;Y ,_ guardianship and custody of the minor. The loss of parental righu
                     -.,~..r.
           ,,, may'         Hof the guardianship and custody of the minor.
           ~     ~:~ ,~~',                                                                                      and duties,
              L~   `` `~~"i~'RT
                             f ,
                             ,    ICLE 1019-TER.-The mother and the fatherv even if they lose parental rights
                                                                    ns towards their children. (sic}
           ~ ti °~~-~ .:'are subject to all the parental obligatio
                                                                                                                  that
~~~~~R~`~` ~'~"~ ~ ~L.~~~:,~~P~i~~► ~~(    0.- Parental rights and duties may be recovered when the motive
                                                                                        to happen the declaration of a
~f~~C~l~'~d ~;;_°~~r~f1~. ~J~ (         the suspension is ceased, and in order for this
   '~~~~~t         ~ ~ ~=~PJ F~    " ant judicial authority is required.
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            ARTICLE 1021.- Parental rights and duties are unalienable, but those who are supposed to
            bear them, may excuse themselves due to poor health conditions that do not allow them to
            fulfill this role adequately.

            ARTICLE 1021 BIS.- Custody is suspended:
            I.- Due to judicially declared disability;
            II.- Due to judicial resolution that decrees suspension as a cautionary regulation; and
            III.-.Due to definite final judgment that decrees suspension. Custody will be recovered when
            the motive that originated the suspension is ceased and in order for this to happen the
            declaration of a competent judicial authority Is required.

            ARTICLE 1022.-The bearer of the parental rights and duties may be deprived of these:
            L-When he commits felony against the minor;
            II.- When final judgment has been entered against him two or more times for felony
            committed against other people;
            III.- For causing physical or emotional damage,. exploitation, compromising his health, safety
            or morality of the minor, even if these events are criminally punishable in terms of the
            legislation of the entity;
            IV.-When he abandons or exposes the minor; and
            V.- In cases of divorce.
            VI.-When by final judgrn~ent, loss of parental rights and duties has been entered against him.

            ARTICLE 1023.- In the event. of fraction I of the previous article, the loss of custody will be
            decreed in the sentence that ends the. corresponding criminal procedure, suspending in the
            meantime the custody through formal indictment, in the events of fractions I1, NI, IV and VI,
            the loss will be decreed in the sentence of a civil trial specifically for that purpose, in the
            event of fraction V, the loss will be decreed in the divorce sentence, against the spouse that
            caused such event.

            ARTICLE 1024.- When the judge, because of the evidence and proof received considers
            convenient for the minor that the cease of deprivation of custody takes place, he will
            reasonably rule in favor of it.

            ARTICLE 1024-BIS: Unless both parts reach an agreement, the judge will determine the
            cases in which custody is limited, a visitation system in favor of the parent that does not
            keep such guardianship or custody, establishing an access to spend time together at least
            four days and two nights a month, with the exception of infants, boys or g(rls that due to
            medical prescription cannot spend the night outside of their home. This access may be
            e~ctended, by attending the particular Circumstances of each rase, and it may not dull or
            obstruct tfie school obligations and right to leisure and recreation of the minor. Also, the
            judge must hear the proposals and arguments of both parts involved. The judge must take
            into consideration and include in the visitation system, holidays, birthdays of family
            members, long weekends, procuring the alternation and contact with bath parents. He mus#
            also seek not to restrict any of the parents from attending celebrations or festivities that are
                                                                                                     scho~}~r~,i~`;       .
            organized for the children, such as graduations, school ceremonies, beginning of
            year/end of school year celebrations, or any other similar event that derives from                       ,, ~I ~.
            minor's education, or complimentary/sports activities. Moreover, the agreement or judir,1               ~~1e;`~1}
                                                                                                                         r,~
            resolution should foresee cases of transfer of residence of one of the parents, as well as tP4~yv ~ ,, ~s.~
            custody and visitation system if such event Lakes place_                                         `'~ ~~'"`=~'
                                                                                                ~1,sN "~' " ~; «ClC~r~ES E.XTERI~RE~
                                                                                                ~~'~GC-P; i, i;;-:~; =Ri',L pEPR~7ECCld~
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            * I hereby certify the accuracy and veracity ofthe present document,
            performing in the capacity oftranslator with Number 393 ofthe Certified
            Translator Register (Padr-on de Peritos Traductores,~.


                                          ~~~~
                               KariaAlejand+'a Oropeza De Caceres



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           ~;

                                             Voluntary Return Letter Acknow~ledaement

        Dear Applicant:

        Pursuant Yo Article 7 of the 19$0 Co~~vention on the Civil Aspects of lrzternational Child Abduction
       (Convention), a~ld to encourage voluntary resolutions to Iaternitional Parental Child Abduction cases, the
        U.S. Central AuChority often sends a Voluntary Return Letter t~ the parent curt•ently living with the child
        informing hian ar her of the application for return of the child/ren to their habit~ial residence under the
        Convention. The letter also provides general information about fhe Convention, explains our role as
        Central Authority, and informs the parent that if a voluntary resolution is not re~lched, tour[ proceedings
        may be initiated by the other parent.

        The U.S. Central Authority sends this letter as part of our regular ~jracess, but recognizes that sending
        sued a letter may not be appraprilte in all cases. For this reason, ~~e ask you to ec,i~sider your family's
        circiunstanccs and inform our office as to wklether or not yoti would like us t~ send the letter.

        Please note the decision to send the letter rests solely with the U.S. Central Authority. Sending such a
        letter should not be considered a judgment by our office as to the meriis ofany particular case. Should nur
        office determine that it is appropriate ender the Convention to send a Vofuncary Access [.etter in your
        case, eve will provide you ~vit11 a copy of the letter that is sent.

        Please complete and sibn tl~e statement Uelow.

                     1, Chvanov Daniil Viktorovic1l (applicant parent), ask tl~e U.S. Central Authority to:

                              Yes, send Voluntary Rehrrn I.,etter

                              No, please [?O NOT send Voluntary Return Letter.

        to Chva~lava l~na Ieorevna (parent ~i~ith child) under the ~Ia~ue Con~~ention as a way to seek a vnluntlry
        resolution of my case.'If sel~eting "No" please explain khe reason:

                           After receiving the notification, she will uy ho hide.




                     ~~.                __
                             ,;,
                                                                                    February 14, 2023
        Signature                                                                   Date




                                                       UNC[,A55[FIE D                                         l 0i`13
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                                    Authorizatioa~ to Release C1se Information
                          :For rise by the tJ.S. Department of State, Qfrice of Children's Issues


         1, Chvanov Da~niil Viktorovich (z~amc), the father (r~tationship to child/re») of tl~e
         child/ran listed below, authorize the Office of Children's Issues torelease
         information abo~~t thyself and/or illy minor chitdfre~n to prospective and retained
         attorneys and anediatnrs in the U~zited States.

        Name oi~child: Clavanov lgnat Daniilovich DOB: 0].01.2018



        is tl~e chrld/ren a citizen of the United St~~tes?                                     Yes     J No
        Is the child/ren a permanent legal resident of the United States?                      Yes     ✓ No

        In the went that persons car organizations other than prospective attorneys request
        information regarding your child/red's case, The Office of Childre~~'s Iss~~es may
        release information to:

        Family Members anci/c~r Friends:                                                 Yes J Nn

        Please list hill names and relationship to child:




        Media organizatiaris (newspaper, television, etc.)                             Yes ✓ No
        Members ofthe U.S. Congress                                                    Yes J No

                                 ~
                                 ~
                     l~~~%                                            February 14, 2023
       Signature                                                      Date
        r c~~is
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                   ;.- ti          _                                              Ui~it~d States Department o1' State
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                    '''""                                                          ~i''ushir~~to~i, U.C. Z0~?0


                            Asistencia de la red de abogados en relacion con el Convenio de La Haya,2022
                            Convenio sobre los Aspectos Civiles de la Sustraccion Internacional de Menores
                                       Hague Convention Attorney Network Assistance, 2022
                                   Hague Convention on the Civil Aspects of International Child Abduction

   Sirvase examinar of cuadro de Pautas sobre ingresos para recibir asistencia juridica en 2022 a fin de determinar si usted
   reline los requisitos para solicitar asistencia de fa Autoridad Central de los Estados Unidos para identificar representation
   juridica gratuita o con rebaJa de honorarios en los Estados Unidos para su caso relativo al Convenio de La Haya.
   Complete esta solicitud y entr~guesela a la Autoridad Central que le corresponds. Conserve una copia.

   Pleose review tine 2022 Lega!Assistance Income Guidelines chart to determine your eligibility to request the U.S. CentralAuthority's
   assistance rn identifying pro Bono (free) or reducedjee Iegal representation for your Hague Convention case in the United Stotes.
   Complete and return this application to your Central Authority, Keep a copyfor your records.


            Pautas sobre ingresos pars recibir asistencia juridica en 2022 ^' 1022 LegalAssistonce Income Guidelines
                                    GRATUITA "' PRO BONA                     C~fV REBAJA DE HONORARI05 "' REDUCED FEE
                          •!25% del nivel de pobreza de 2022 en los EE. UU.     •200% del nivel de pobreza de 2022 en los EE. UU.
                                  •12596 of1011 u.s. poverty guidelines                .200% of 2012 U.S. poverty guidelines
                          48 estados continentales y e! Distrito de Columbia    48 estados continentales y el Distrito de Columbia
    N um.de personas '
                                     ~ngreso anual maximo                                Ingreso anual maximo
        en la familia
       Household size                Maximum annual income                              Maximum annuo!income
              1                                         $16,988                                        $27,180
              2              ~'~                        $22,888                                        $36;620
              3              ~j                         $28,788                                        $46,060
              4                                         $34,688                                        $55,500
              S                                         $40,588                                        $64,94D
           6                             $46,488                                           $74,380
           7                             $52,388                                           583,820
           8        `~;                  $58,288                                           $93,260
   Ingreso anual maximo. Sus ingresos anuales totales, antes de pagar impuestas, de todas las fuentes, en ddlares de los
   EE. UU.
   Maximum annual income. This means your total annuo!income, before taxes,from a!lsources, converted to U.S. dollars.


   Numero de aersonas en la familia. AI contar, cu~ntese listed, el Wino (o los ninos~ con respecto al que listed ha
   presentado una solicitud relativa al Convenio de la Haya y otras personas que viven can listed.
  (EI nurnero no debe ser "1.")
   Household sire. Count yourself, the child/ren about whom you havefiled a Hague application, and others living with you.
  (The number should not be "1.")




  2022 Sollcltud de Asistencia lur(dica " 2022 legal Assistance Request 1/3
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    Hombre en tetra de molde Chvanov Daniil Viktorovich
    Print your name

    EI numero de personas en mi familia es; 3 (EI ntimero no debe ser "1.")
    My household size:      (The number should not be "1.")

    Mis ingresos anuales totales(antes de impuestos):14600000 rubies                                 (en mi manede)
    O en d~ilares de los EE. UU. 20 OOOS
    My total annual income (before taxes)(in my currency)                       OR in US$

    Mi ocupacidn/empleo: entrepreneur
    My occupation/employment:

    zEn la actualidad,tiene usted un abogado en los Estados Unidos Para su caso relativo al Convenio de la Naya (o para un
    caso de custodia o visites de menores)? Nd_Si ✓
    Si responde S(, sirvase escribir el Hombre,el telefono y la direction de correo electronico de su abogado:
    Kuznetsov Artur Rudolfovich, tel. +79950039191 (whatsapp, tele~raml, info@arturkuzi~etcov.team
    Do you currently have an attorney in the United Statesfor yourNague C'onvenrion case(odor a child custody/access case)?
    NO         YES          If VES, attorney's name/phoneJemai(


                                                                                    ***
   Lea las pautas sabre ingresos y la INfORMACIbN IMPORTANTf en (a pagina siguiente antes de presenter su
   solicitud. Considers sus ingresos y sus bienes. Es posible que results mas facil y mas rapido holler un abogado
   si puede pager algun monto por concepto de honorarios.

   Please review the income guidelines and read IMPORTANT INFORMATION (on the next page) before making your request. Consider
   your income and your assets, It may befaster and easier tofind an attorney if you can afford to pay some amountfor legal services.

   Request on:y one ap:ion. f belrrve thcf!a~~; ellgib!e :o request:
   Considero que reuno los requisitos pare solicitor (solicits una solo opcibn):

       ✓       Asistencia juridica gratuita
              Pro Bono (free) legal assistance
                         0
               Asistencia juridlca con rebaja de honorarios
               Reducedfee legal assistance
                           0
              La lista de abogados con honorarios Corrientes (sin rebajaj
              A list offullfee attorneys


   Firma                                  _                                               Fecha              February 14, 2023
   Signature                                                                              Date



   Hombre en tetra de molds                   Chvanov Daniil Viktorovich                  Correa electronico cherr►~roup48@~maiLcorn
   Print your name                                                                        Email



   Num. de telefono residential                                                             Telefono celular +7 920 521 6955, +52 998 425 7196
   Home phone                                                                                Mobile phone


   2022 Solicitud de Asistencia Juridica "' 2p22 Legal Assistance Request 2/3
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                                  Asistencia de la red de abo~ados en relation can el Canvenio de La Hava(2022):
                                                                     I NFORMACIbN IMPORTANTE

 •    La Autoridad Central de los Estados Unidos puede pedirle information adicional para verificar si usted reune los requisitos pars
      soficitar asistencia pars identificar representation jurfdica gratuita o con rebaja de honorarios.

      5i usted no ofrece una autoevaluacion fidedigna o se equivoca al hacerla (segun fo determine una organizacibn de ayuda juridica o
      un abogado particular que examine su caso), la Autoridad Central de los Estados Unidos puede limitar toda asistencia posterior para
      ayudarle a hallar representation jurfdica.

 •    Abogados particulares, abogados que trabajan para organizaciones de ayuda juridica o profesores de derecho y alumnos
      supervisados por ellos pueden ofrecer representacibn juridica. No hay garantia de que un abogado vaya a aceptar su caso. Nose
      tiene derecho a recibir asistencla Juridtca gratuita o con rebaja de honorarios en casos relativos al Convenio de La Haya sobre los
      aspectos civiles de la sustracdbn fnternacional de menores.

 •    Coma redbir asistencia juridica gratuita o con rebaja de honorariosr I.e pedimos que evalue su aptitud pars recibir asistencia
      juridica basandose en sus ingresos anuales totales, antes de pagar impuestos, de todas las fuentes (lo que incluye a Ios miembros de
      su familia que contribuyen al sustento del grupo familiar. Este listo pars brindar mss inforrnacidn financiers a los abogados que la
      requieran pars determinar si usted cumple sus criterion pars la prestacidn de servicios juridicos gratuitos o con rebaja de honorarios.

      Para recibir asistencia jurfdica gratuita de la mayor(a de las organizaciones de ayuda juridica, el total de sus ingresos y bienes debe
      estar pot debajo de un determinado nivel. Para decidir si aceptan o no un caso, estas organizaciones pueden tenet en cuenta
      tambi~n las prioridades del programs. Asimismo, los abogados particulates pueden preguntarle 5obre bienes (p. ej., cuentas
      bancarias, acciones y bonos, viviendas, autom6viles, y otros bienes muebles e inmuebles) y pueden pedirle una copia de su
      declaracidn de impuestos sobre el ingreso. Pueden ofrecerle representaci6n gratuita, con rebaja de honorarios o con honorarios
      Corrientes (sin rebaja) Begun su situacidn financiers. EI Departamento de Estado no desempen"a ninguna funci6n en to que respects a
      la determinaci6n, la negotiation o el cobro de honorarios ni ningGn otro aspecto relacionado con ellos. 5i usted puede pagar una
      representacibn jurfdica con rebaja de honorarios o con honorarios Corrientes (sin rebaja) en funcion de sus ingresos y bienes,
      marque la casllla correspondiente.

     Honorarios de abogados; Las organizaciones de ayuda juridica prestan servicios juridicos gratuitos. Los abogados privados pueden
     representarlo de forma gratuita o cobrarle pot sus servicios. Los arreglos sobre honorarios quedan entre usted y su abogado. EI
     Departamento de Estado no desempena ninguna funcidn en toque respects a la deterrninacidn, la negociaci6n o el co6ro de
     honoraries ni ningun e!ro asp~cto relaci~n=do ton e!les. Si d=sea inf^~f:l@:IMP. o2f1AfZI SObIf I10.^.0!3~IQS Cott f~~`3)2, VISI*8 I3 r3gt~a
     web del Departamento de Estado: htCps://travel.stake.aov/content/travel/en/international-Parental-Child-Abductionlfor-
     proyiders/laws/haAue-abduction-convention-legal-rearesentation-ootions.html.

     Costas y gastos judiciales: Los procedirnientos judiciales civiles a menudo conllevan costas y gastos ademas de los honorarios de los
     abogados. Consults con un abogado sobre las costas y los gastos asociados a su caso que Cabe esperar pagar. EI Departamento de
     Estado no desempena ninguna fun~ion en la deterrninacion ni la negociacidn de los honorarios o costas.

     Las organizaciones de ayuda juridica pueden cubrir partial o totalmente las costas y los gastos asociados a su caso relacionado con el
     Convenio de La Haya. La mayoria de los abogados particulates esperaran que usted pague las costas y los gastos sun cuando ellos le
     presten servicios juridicos gratuitos o con rebaja de honorarios. Del mismo modo, usted deberia tenet previsto pagar las costas y los
     gastos en Ion Cason en los que le cobren honorerios Corrientes (sin rebaja).

     Las costas y los gastos pueden incluir, entre otros, costos de tremitaclan, notificaci6n del procedimiento a la otra parts, Ilamadas
     telefonicas, gastos de viaje, duplicacidn de documentos,traduccidn y peritos. En Cason de apelacidn, puede haber costos adicionales
     relacionados con el acts pertinente. Las costal y los gastos pueden ascender a US $1.000 o mss y pueden varier dependiendo del
     caso en particular. Los tribunales pueden eximir a los litigantes del pago de los costos de tramitaci6n y notificacidn pot razdn de
     necesidad. Quizas pueda recuperar las costal y los ~astos que hays pagado, y los honorarios del abogado, si un tribunal ordena que
     su hijo sea regresado a su pats de residencia habitual.

     Las "Pautas sobre ingresos pars recibir asistencia juridica en 2022" se basan en los niveles de ingreso maximo en 2022 pars las
     personas aptas pars recibir asistencia fijados pot la Legol Services Carporotron (LSC). Este entidad actualize las pautas cads afio pars
     que refleJen los cambios anuales de las pautas federates de pobreza. Las pautas sa publican en el ApEndice A def titulo 45, parts
     1611, del Cddigo de Reglamentos Federa{es (CFR). EI aviso del Registro Federal sobre las pautas de ingreso pars 2022(87 FR 4817, 31
     Jan. 2022)se encuentra en. http://www.federalreeister.eov/documents/2022/01/31/2022-01922/income-level-for-indviduals-
     eli~ible-for-assistance •Los cuadros del gr~fico son pars los 48 estados continentales y el Distrito de Columbia. En esta misma p~gina
     web hay cuadros especiales pars Hawai y Alaska.
     2022 Sollcltud de Asistencla luridica"2022 Legal Assistance Request 3/3
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             POLYGLOT
             T R A D U CC1 O N E5




               I, the undersigned IRYNA LYANZURIDI, a duly recognized and authorized
               translator of the Civil Registry Directorate General of Guanajuato State,
               Mexico, registered under the number 07 in the List of Official Translators,
               currently authorized for the 2021-2022 period, published in the Official
               Journal of the Government of Guanajuato State No. 248 Second Part, on
               December 11t", 2020 (pages 19-23), and under the number 2 in the List of
               Authorized Experts of the Judicial Power of Guanajuato State, hereby
               certify that this translation from RUSSIAN to ENGLISH of the attached
               copy of the MARRIAGE CERTIFICATE, consisting of ONE page, is exact
               and trustworthy, to the best of my knowledge and belief.
               NOTE: 7HE PAl'RONIMIt; NAMES OF THE SPOUSES OF THIS MARRIAGE CERTIFICATE ARE VIKTOROVICM ANO
               IGOREVNA, WHICH ARE OMITTED FOR THE Lf1CK OF THEIR UuE IN THE INTERNATIONAL ?ASS?QRT3 OF THE
               RUSSIAN FEDEF2ATION AND IN ALL MEXICAN DOCUMENTATION.




                          issued in the city of Leon, Guanajuato, on June 17~h, 2022.


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                                                                                                           T y
                                                      Ms. lryna Lyanzuridi                                              ado
                                                         Official Tranr-lator                              ~~~~Or Auto~~-

                                             Calla Loma de Pedregal No. 308 - int. 14,               Lic, tryna ~yanzuridi
                                               Colonic Lomas del C.ampestre, Leon,                      rGfiCIPTi07
                                                   Guanajuato, h1exico, CP 37150




         Calla Loma clef Pedregai No. 308, int. 74 •Col. Lamas deE Campes;re • Ledn, Gta. h1exico ~ Tel: {471; 71&-0~-i5
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                                                                                      E.SPANbt.. ' E4GL19H ` PYt~~KNN ` YK4'AIHCk,NA MOEtA




                                                          [Shield of Russia

                                              MARRIAGE CERTIFICATE


             Last name: Chvanov
             Name:          Daniil                                     Patronimic name: ViktoroviCh
             Citizenship: citizen of Russia
             Natlonallty (registered only if it is mentioned in the record of marriage celebration): RUSSIan
             Date of birth: 8th of July, 1990
             Place of birth: c. Lipetsk
             and

             Last name: Yakovleva
             'Name:        larva                                       Patronimic narr~e: Igorevna

             Citizenship: citizen of Russia
             NdliOn~tlity (registered only if i; is rneot;aned in the reco;~l of marriage celebration): RUSS12tl

             Date of birth: 3'd of September, 1991
             Place of birth: c. Lipetsk

             celebrated marriage on 14.07.2016 fourteenth of July, two thousand sixteen
                                                          (day, month, year with numbers and words)
             whereof an the 14~h day of the month of July of the year 2016 was made the record
             in the register of marriages under the No. 753.
             i pon marriage, the parties assumed their last names as follows:
             husband             Chvanov
             wife                Chvanova

             State registration place -Marriage Palace of the Civil Registration Directorate
                                             of the Administration of the city of Lipetsk
                                                                (name of[he civil registration office)

             Uate of issuance: 14t'' of July, 201fi
                                                                                                                   ~1~~eral de!pe9i
             Head of the civil registration office:           (/Ilegible signalurej         G.V. Belkina .Q~. ~;; .~~;~- s,,o

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                    in the city of I.,ipetsk, Russian Federation]                                                                                 :
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            T R A D U CC I O N E5

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                                             CER'1'Ik'ICA.DO D~: MATRIMONIO


               r~pellido: Chvanov
               Hombre: Daniil                                                 Patronimico: Viktorovich
               Ciudadania: ciudadano de Rusia
               NSCionalidad (solo se registry si 1parece cn la inscripr,i~n de la celebracibn de matrirr:enre)~ fU50

               Fecha de nacimiento: el 08 de Julio de 1990
               Lugar de nacimiento: c. LipetSk

               y~
               Apellido: Yakovleva
               Hombre: larva                                                  Patronimico: Igorevna
               Ciudada~~ia: ciudadana de Rusia
               Nacionalida.cl {si~~c, se registry si uFarece en la inscripci6n ~e I~t ~Ci~E~,~~~~o~~ a~ r„~~c~~~,o~~~o>: rusa
               Fecha de nacimiento: el 03 de septiembre de 1991
               Lugar de nacimiento: C. Lipetsk

               han contraido el matrimonio el dia 14.07.2016, el catorce de Julio de dos mil dieciseis,
                                                                            (dia, mes y ar~o con numeros ,y lelras)
               de que el dia 14 del mes de Julio del ano 2016 fue hecha la inscripcion corrc.spondiente de
               I~ celebracioil de matrimonio bajo el No. 753.

               Despues de contraer el rnatrimonio, les han side concedidos los siguientes apellidos:
               al esposo            Chvanov
               a la esposa          Chvanova

               Lugar de registro estatal: Palacio de Enlaces Matrimoniales de la Administracion de
                                                    Registro Civil de la Ciudad de Lipetsk
                                                             (riombre de la irstituci6n que registry acros civiles)

               Fecha de expedicitin: el 14 de Julio de 2016

               Directory de la oficina de registro civil•               (Firma;legibte)            G.V. Belkina                ~erE{a1d~~Fj~,
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                           en la Ciudad de L(pecsk, Federaci6n Rusa]                                                   ~                     ~t      ((~'~~
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        Calle Lama del Pedregal Nn. 30~, int. 14 •Col. lamas del Campestre • Le~r~, Gtr. Mexico •Tel:(477) 71$-04-1 S
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              FECHA           25 DE OCTUBRF DE 2022         F~JAS       UNA         NUMERO                25102022-2552
                           CERTIFICADO DE MATRIMONiO bE SERIE I-P~ Y No 716018, EXPEDIDO A HOMBRE DE
             TIPO DE       DANIIL VIKTOROVICH CHVANOV Y IANA IGCIREVNA YAKOVLEVA POR EL PALACI~ DE
           DOCUMENTO       ENLACES MA7RIMUNIALE5 DE LA AUMINISTRACIdN DE REGISTRO CIVIL DE LA
                           CIUDAD DE LIPETSK, FEDERACIdN RUSA, EL DIA 14 DE JULIO DE 2016. - - - - - - - - - - -
                           ~OS HOMBRES PATRON(MICOS DE LAS PERSONAS DE ESTE CERTIFICADO DE
          CUMENTARIOS      MATRIMONIO SON VIKTOROVICH E IGOREVNA, LOS CUALES 5E OMITEN POR FALTA
                           DE USO EN LOS PASAPORTES INTERNACfONALES DE LA FEDERACI~N RUSA Y EN
                           TODALADOCUMENTAC16NMEXICANA.-------------------------•----------

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        POR EL PERITO-TRADUCTOR OFICIAL LIC. IRYNA LYANZURIDI, OEBIDAMENTE RECONOCIDA Y AUTORIZADA POR LA
        ADMINISTRACION GENERAL DE REGiSTRO CIVIL DEL ESTADO DE GUANAJUATO EN MEXICO, Y REGISTRADA BAJO EL
        NUMERO 07 EN LA USTA DE PERIT~S AUTORIZADOS PARR EL PERIODO 2027-2022, PUBUCADA EN EL PERIODICO
        OFICIAL No. 248 SEGUNDA PARTE, EL DIA 11 DE DICIEMBRE DE 2020(PAGINAS 19-23); Y POR EL CONSEJO DEL PbDER
        JUDICIAL OEL ESTADO f}E GUANAJUATO SEGUN L,4 LISTA DE PERITOS AUTORIZADOS PUBUCADA EN EL DIARIO OFICIAL
        DE FECHA 10 DE MARZO DE 2017. EL PERITp-TRADUCTOR ES UNICAMENTE RESPONSABLE PpR LA TRADUCGICN, NO
        ASI POR LOS CONCEPTOS, CONTENIDOS, USOS O EFECTOS LEGALES DEL DOCUMENTO. EL D~CUMENTO BASE QUE
        SE TRADUJO ES UN ORIGINAL OEL CUAL SE ANEXA UNA FOTOCOPIA A LA PRESENTS TRADUCCIbN. OUMICILI~ DE
        POLYGLOT TRADUCCIONES: LOMA DE PEDREGAI 308, INT. 14, COL. LOMAS DEL CAMPESTRE, LE6N, GUANAJUATO,
        MEXICO, C.P. 57150, TEL. +52(477) 718-OA-15, E-MAIL: contacto@polyglot.com.mx.
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               Case
   194 -Official Website8:23-cv-00867-FWS-KES                         Document 1 Filed 05/18/23 Page 71 of 79 Page    ID #:71
                                                                                                               13.02.2023, 18:19




                                  r For: IANA CHVANOVA                                                           FOr
                                                                                                                 Your
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                                              Admission (I-94) Record Number:                                    automating
                                        864389067A2                                                              the
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                                        Zo                                                                       process.
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                                     into the U.S. is no longer required to be in possession of a               admission
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                                     the CBP website constitutes a lawful record of admission.
                                                                                                                printed
                                     See 8 CFR § 1.4(d).                                                        frOfTl th2

                                        If an employer, local, state or federal agency requests                 ABP
                                     admission information, present your admission (I-94)
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                                     number along with any additional required documents
                                     requested by that employer or agency.                                      COIIStItUteS

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                                     close your browser after you have finished retrieving your                 record of
                                      -94 number.
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                                For inquiries or questions regardingyouur I- 4,_ I ase                          1.4(d).
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    194 -Official Website
               Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 72 of 79 Page    ID3,#:72
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                                    r For:(GNAT CHVANOV                                                       FOI'
                                                                                                              Your
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                                      the CBP website constitutes a lawful record of admission.             printed
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                                        If an employer, local, state or federal agency requests             ABP
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Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 73 of 79 Page ID #:73

               PODC:R JUDICIAL DEL ESTADO DE QUINTANA ROO                  ~,




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~~   Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 74 of 79 Page ID #:74
Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 75 of 79 Page ID #:75


               autoridad ae biro a#enio oficio al ENGI~RC3ADO DE L.A PLA7A DE PLAYA DEC
             ,.ARMEN DE LA POLIC~A QE iNVES'fIQA~~dN a afecto de aue i~rSnde auxiiio
              C
             ~        adana DANUL VIKTOROVtCH` CHVANOY en el domiGiio ubicada.en
              Avenida del Paralso y Constituyentes: `Msnzana 33, Lote 2, :Casa 29; CWonia
              Mrsl4rt da !as Flores F, Cddlgo Postal 77723, Municiplo tle Soliciarided, de esta
              Ciutlad de Playa tlel Carn►en, Quintana Roo; y/o donde to regwe~ -pate que
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              pr~oCeda cortfonne a su represeMacibn sxlal corresponds. fie' nreviene.. al
              rirortrbvente sacs sue en tbrmino ds TRES DfA8 prgpordone a seta AutoriCed
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             IS Igu~Tdad errtre muJeres y hombres; una vez hecho to anterior se orCenar~ guar
              atento '.oficio a Ia UNiQAD QE DERECHOS HUMANOS pars qyt ten~a -
              cortxirriiento y continue con elf aegulmlento correspQgdierrte de las Medidas de
             >Prntecdbn ordenades en el presenfe Julcfo. Por cuarrto e la: MED(R~►
              PFtd1/~SIONAL reapecfo al Depbstto Judicial y Custodla del dfado mengr
             sal►citado por el promovente y en virtud de to manifestado por la parts adora.bn
             sus hechos de la demands, eats Autoridad estg facultsda pars lntervenir de . . .
             ofclo en 1os asuntos de fndole familiar, mks sun trat~ndosa de menores;de edad, ~y~;                      ~ `y
             por to qua con fundamento en tos artfculos 896 d6t Cbdigo Procesal en ata y 99~~ ~~
             del Cbdigo Civf► vlgerTte amisos del E~tado, en relaci~n a los numerates 3, 9 y 12 ~~
             de la Convenci6n Nacfonal de la Proteccidn de los Deroahoa de Ion Nf~os, En s'                       `';
                                                                                                                   ~<~ -r~~_:'
             tcdas las decfsiones~ y "actuaciones tiel Estado se velars y cumplir~ con el ~                           ~ ~-~;
             p[lncipio tle1 intar~s superior de la rtif~ez, Aar~ntlzando de manes plena sus                      r '-~
             darechos' previsto en el artfculo 4 de la Constltucidn Potftica'de los. Estados              ~<°     _ ~,< '.:
             Un~dos Mexlcanos, !o cuaf encuenVa sustertto en el siguiente criterio de la torte:             `•        - .,'
             en ~a'jurispn~dencia de Rubro'Registro siguiente: MEN~RES., DE EQAD. EL
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             Jf7E1ESTA OBUG,4D0 AUN DE OF1ClO, A ESCUCHARLOS EN'CUALQUlER
             ;lUlC/0 DDNDETENCA`QUE 14FSOLVERSE SOBRE L4 PATRIA POTES7AD,:
             GUARUA Y CUSTODIA, ASI COMO' AL MlNISTERIO P1IBLICO DE LA                             .. .
             ADSCRI?CIbN, TL~NlENDO EN CUENTA LA FACULTAD QUE TlENE DE .
             VAL:ERSE DE CUALQUIER M~DfO A FIN DF SALVAGU}~RDAR EL INTERS
             SUPERIOR DE AQUELLOS {LEGJSL4Cl0/V DEL ESTi4D0 ~DE VERAGRUZ).,
             Regfstro'183500,''DEPbSITO JUDICIAL D~ UN MENOR A FAVOR DE UNO DE.
             5U~ PROGENITURES:; SU DECRETO OBLIGA A~ JUEZ DE INSTANCIA A
             ESTABtECER EL R~OIMEN DE VfS1TAS RESPECTIVO, EN ATENCIbN AL
            IIVTER~'S SUAERIOR DE AQU~L. Registro 2094453. Este auto~idad estlma
             co~verfie[rte determiner qua fas cosas se mantengan en el estado en qua se
             encuerrtfen con relacibn al manor de ~orpbre (GNAT • DANIILLOVICH
             CHVANQV, seta Autor(dad a su prudente arbiMo tletem~lns qua permanezca
             baJq el auidado y protecclbrt de su progenitor el ciudadano DANIIL
             ViKTDi40VICH CHNANOV, s(n aye esfo Imolia~e aye s~ le otoin~e fa c~a+nom a
             ocovisfonal nl deflnkiva, also qua ea unlcamertte con el obJeto qua seta
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             tangs conocimierito del fugar en donde se encuent~a ubicado el chado manor,
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            Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 76 of 79 Page ID #:76
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                                                                            al manor de Hombre (GNAT dAN1ILL
                                        CHVANOY,;sin cause                                                                    OVlCH
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                                     Ad~ri nistracibn tle Gestihn Jud~ci~l'; de Iva Juzgados Civil y
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                                     Pnmera Instancia de este Distrtfo JudfcaL a notificar a
                                                                                                          la ciudadana IA[+IA:.:
                                    IGOl7EVNA CHVANaVA el presents: Juic(o en su domfcillo
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Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 77 of 79 Page ID #:77



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       Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 78 of 79 Page ID #:78

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     Case 8:23-cv-00867-FWS-KES Document 1 Filed 05/18/23 Page 79 of 79 Page ID #:79




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~,                                  NOTIFiQUESE. RERSONALMENTE Y CllMPLASE Asf to acoid5 y flnna la:
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                                 ':Licenciada DEYLIANA AVILES ;DEMENE~HI, Juez de .fnsWcabil Adscrita al
                                  JUzgado, Familiar y Civil Oral de Pnmera lnstanua del FDist[ifo Judi ”
                                  Solidaridad Quintana Roo:                           -                 -           -              -                  -


                                  EN FECHA NUEYE DE MAYQ.DEL ANQ DOS M11 VE.lNTITR~ .„$E PUBUC
                                 'EL AUTQ QUE'ANTEGE~E POR;: LlSTA ELECTR~NICA DE ESTE JUZGADO :- ,


                                 Inicio Expedien:fe Familiar 636/2023.
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